Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 1 of 88 PagelD #: 2073

10.31.14
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

Kareem Bellamy 2012 CIV 1025 (WFK)(VVP)
Plaintiff, FIRST AMENDED COMPLAINT

Jury Trial Demanded
City of New York,
John J. Gillen,
Michael F. Solomeno,
Sargent Vincent Pepe and Lt. Robert Schruhl,
Supervising Officers at the NYPD 101* Precinct

Defendants.

 

Plaintiff Kareem Bellamy, by and through his attorney, Thomas Hoffman, Law

Offices of Thomas Hoffman, P.C. states as follows:
INTRODUCTION

There was never any evidence connecting Mr. Bellamy to the April 9, 1994 murder
of James Abbott, Jr. Mr. Bellamy’s wrongful conviction was induced by two rogue
detectives who through coercion and intimidation manipulated each of the prosecution’s
fact witness and key pieces of evidence to frame Mr. Bellamy.

Evidence pointing away from Mr. Bellamy was suppressed. Leads to the two
suspects who were identified as Mr. Abbott’s murderers were not investigated. The
detectives’ nefarious conduct could not have been accomplished without police

supervisors who looked the other way and who ignored standard police practice that
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 2 of 88 PagelD #: 2074

safeguard the integrity of an investigation. The trial prosecutor, without fear of

reprimand or discipline, in an atmosphere of impunity and a climate in which winning is

everything, disregarded his duty as representative of the citizens of New York to do

justice and to seek the truth and instead engaged in a shockingly egregious summation.

Systemic failures of the defendant City of New York animated the wrongful conviction

with customs and practices that condoned prosecutorial misconduct and with carefully

calculated policies that secreted from the defense financial benefits promised to
prosecution witnesses. As a result of the wilful actions of the defendants, or of their
deliberate indifference to his right to a fair trial, Mr. Bellamy suffered the catastrophic
loss of his liberty for 14 years and three months.

JURISDICTION

1. This Court has federal question jurisdiction, pursuant to 28 U.S.C. §1331 and 1343
over claims arising under 42 U.S.C. §1983.

2. Supplemental jurisdiction over Mr. Bellamy’s pendent state law claims exists
pursuant to 28 U.S.C. §1367(a)

3. Plaintiff has complied with the requirements of New York General Municipal Law
Section 50-I. Mr. Bellamy served a notice of claim on the Municipal defendants,
within the time required by New York General Municipal law Section 50-e. More
than thirty days have passed since the service of the Notice of Claim and no offer

of settlement has been made.
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 3 of 88 PagelD #: 2075

4, On February 23, 2012 Mr. Bellamy submitted to a hearing pursuant to New York

General Municipal law Section 50-e.
VENUE

5. Pursuant to 28 U.S.C. §1391(b), venue is proper in the Eastern District of New
York, the judicial district in which the claims arose and in which Mr. Bellamy
currently resides, and in which the defendant City of New York and the individual
defendants conduct their business.

PARTIES

6. Plaintiff Kareem Bellamy is, and at all times material to this Complaint was a
citizen and resident of the State of New York, City of New York, County of
Queens.

7. Defendant City of New York is a municipality that is a political subdivision of the
State of New York, was the employer of the New York City Police Department
(“NYPD”) defendants John J. Gillen and Michael F. Solomeno, Sargent Vincent
Pepe, Lt. Robert Schruhl (Tax #848781) and is and was at all times relevant to this
Complaint responsible for the policies, practices, and customs of the New York
City Police Department (“NYPD”) and the Queens County District Attorneys
Office (““QDAO”)

8. Defendant John J.. Gillen (“Gillen”), at all times relevant to this complaint was a

duly appointed police officer of the NYPD, acting under color of law pursuant to
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 4 of 88 PagelD #: 2076

10.

the statutes, ordinances, regulations, policies, customs, and usage of the City of
New York and the State of New York. Defendant Gillen was working as a
detective assigned to the 101% Precinct, Far Rockaway New York when he was
assigned a case involving the stabbing death of James Abbott, Jr. At all times
stated herein defendant Gillen was acting within the scope of his employment.
Defendant Michael F. Solomeno (“Solomeno”’) at all times relevant to this
complaint was a duly appointed police officer of the NYPD, acting under color of
law pursuant to the statutes, ordinances, regulations, policies, customs, and usage
of the City of New York and the State of New York. Detective Solomeno was
working as a detective assigned to the 101“ Precinct when he was assigned a case
involving the stabbing death of James Abbott, Jr. At all times stated herein
defendant Solomeno was acting within the scope of his employment.

Pepe, at all times relevant to this complaint was a duly appointed police officer of
the NYPD, acting under color of law pursuant to the statutes, ordinances,
regulations, policies, customs, and usage of the City of New York and the State of
New York and was the immediate supervisor of defendants Gillen and Solomeno,
and as supervisor had the direct responsibility to insure that the investigating
homicide detectives including defendants Gillen and Solomeno perform their
investigative duties in conformity with the rights of defendants and of suspects

under the United States Constitution. At all times stated herein defendant Pepe
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 5 of 88 PagelD #: 2077

11.

12.

13.

14.

15.

was acting within the scope of his employment.

Defendant Schruhl at all times relevant to this complaint was a duly appointed
police officer of the NYPD, acting under color of law pursuant to the statutes,
ordinances, regulations, policies, customs, and usage of the City of New York and
the State of New York and was the immediate supervisor of Defendant Pepe and
indirectly supervised defendants Gillen and Solomeno and as supervisor had the
responsibility to insure that the investigating homicide detectives including
defendants Gillen and Solomeno performed their investigative duties in conformity
with the rights of defendants and suspects under the United States Constitution. At
all times stated herein defendant Schruhl was acting within the scope of his

employment.

PROCEDURAL HISTORY FROM
CONVICTION TO EXONERATION

On December 13, 1995 after a trial by jury Mr. Bellamy was convicted of depraved
indifference murder. Mr. Bellamy was acquitted of intentional murder.

On January 16, 1996, Mr. Bellamy was sentenced to 25 years to life.

The Appellate Division affirmed Mr. Bellamy’s original conviction in a short, four
paragraph decision. See People v. Bellamy, 247 A.D.2d 399, 667 N.Y.S.2d 925
(2d Dep’t 1998).

The Court of Appeals denied leave to appeal, 91 N.Y.2d 970, 672 N.Y.S.2d 849

(1998).
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 6 of 88 PagelD #: 2078

16.

17,

18.

19,

20.

21.

22.

The United States District Court for the Eastern District of New York denied
habeas corpus relief. See Bellamy v. Superintendent of Shawangunk Correctional
Facility, No. 99-CV-1832 (CPS) (E.D.N.Y. Dec. 7, 1999).

The certificate of appealability was denied and the appeal dismissed (2d Cir. Nov.
16, 2000).

On October 3, 2006 , six years after his last appeal was denied, claimant filed a
motion pursuant to CPL 440 to vacate his conviction and to grant him a new trial.
On April 10, 2007 Mr. Bellamy’s request for a Writ of Coram Nobis based on
ineffective assistance of appellate counsel was denied. People v. Bellamy, 39
A.D.3d 658 (2™ Dept. 2007) appeal denied 9 N.Y. 3d 920 (2007)

On June 27, 2008 after two 440 hearings that included over 30 witnesses and
nearly 100 exhibits Hon. Joel L. Blumenfeld, Acting Supreme Court Justice
vacated the judgment of conviction based on newly discovered evidence pursuant
to C.P.L. 440.10(1)(g) which evidence pointed toward the culpability of third
parties and which new evidence supported the actual innocence of Mr. Bellamy.
People v. Bellamy, 20 Misc. 3d 1131A (Queens S.Ct. 2008). The Court stayed its
decision pending the People’s appeal.

On October 24, 2008 People moved to vacate the June 27, 2009 decision that
granted Mr. Bellamy a new trial.

On January 14, 2010, after a hearing, Judge Blumenfeld denied People’s Motion to
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 7 of 88 PagelD #: 2079

23.

24.

25.

26.

27.

28.

29.

Vacate the June 27, 2008 Order. In addition to vacating the conviction based on
newly discovered evidence, the Court also found multiple Brady and Rosario
constitutional violations. People v. Bellamy, 906 N.Y.S. 2d 781 (Queens S.Ct.
2010).
On May 24, 2011 the New York Appellate Division, Second Department affirmed
the Supreme Court’s decision to grant Mr. Bellamy a new trial. People v. Bellamy,
84 A.D.3d 1260 (2™ Dept. 2011).
On August 11, 2011 the People’s request for Leave to Appeal to the New York
Court of Appeals was denied. People v. Bellamy, 2011 N.Y. Lexis 2735 (2011).
On September 16, 2011 the murder indictment against Mr. Bellamy was dismissed
with prejudice upon the motion of the District Attorney for Queens County.
The conviction was terminated in favor of Mr. Bellamy.
Pursuant to CPL 160.60, the arrest and prosecution are now a nullity.
Mr. Bellamy had been imprisoned for 14 years and three months. After his release
on bail on August 14, 2008 until the September 16, 2011 dismissal of the
indictment Mr. Bellamy’s freedom was restricted by his having to wear an ankle
monitoring bracelet.
Statement of the Case
The Murder of James Abbott, Jr.

At approximately 9:45 a.m. on Saturday, April 9, 1994, James Abbott, Jr. was
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 8 of 88 PagelD #: 2080

30.

31.

32.

33.

34.

35.

36.

murdered on Beach Channel Drive at the intersection of Beach 48" Street in Far
Rockaway, New York.
On that morning, Mr. Abbott had gone to C-Town, a supermarket located one
block away on Beach Channel Drive between Beach 49th Street and Beach 50th
Street, to purchase some groceries.
Shortly after he left C-Town, Mr. Abbott was murdered by two men.
The homicide took place three blocks from Mr. Bellamy’s home and one block
from C-Town, where Mr. Bellamy shopped almost daily and continued to shop
between the time of the murder and his arrest one month later.

The Prosecution Case In Chief
The prosecution did not proffer or establish a motive, and no connection was
drawn between Mr. Bellamy and Mr. Abbott.
The prosecution’s case was based on the testimony of three fact witnesses — Linda
Sanchez, Andrew Carter (the prosecution’s only eyewitness to the murder) and
Veronica Walker.
Each of the three fact witnesses exculpated Mr. Bellamy, but defendants Gillen
and Solomeno, through coercion and chicanery, manipulated these witnesses so as
to appear to inculpate Mr. Bellamy.
In support of the prosecution case, two statements that purportedly showed

consciousness of guilt were admitted in the prosecutor’s case in chief.
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 9 of 88 PagelD #: 2081

37.

38.

39.

40,

41.

42.

43.

The first statement supposedly made after Bellamy’s arrest was fabricated by
defendant Gillen to establish probable cause for the arrest, where none existed.

“This must be a case of mistaken identity. Somebody probably accused me
of murdering someone.”

The second statement was made at the police precinct where Bellamy told the
police that on the morning of the murder he was with his friend, Terrill Lee.
Although defendants Gillen and Solomeno and also the trial prosecutor David Guy
knew that the second statement was made only after Bellamy had been told the
reason for his arrest, it was still falsely presented to the jury as spontaneous and as
evidence of consciousness of guilt.
The Simmons Call

Ten days after the Abbott murder the police received a telephone report from an
Anna Simmons reporting that she had overheard a LeVon “Ish” Melvin and a
Rodney “Turk” Harris, two members of a dangerous Far Rockaway gang named
the Regulators confess to the murder of James Abbott.
The gang members description of how the murder occurred was consistent with
how the murder in fact happened.
This lead that Melvin and Harris murdered Mr. Abbott was not followed up by
defendants Gillen and Solomeno.

The Prosecution Case Against Mr. Bellamy By All Accounts Was Weak

The prosecution was unable to make a connection between Mr. Abbott and Mr.

9
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 10 of 88 PagelD #: 2082

44,

45.

46.

47.

Bellamy nor was the prosecution able to establish a motive for the murder
established.
After three days of deliberation and an Allen charge’, the jury arrived at what can
only be described as a “compromise” verdict, acquitting Mr. Bellamy of
intentional murder but convicting him of depraved indifference murder.
The jury reached that verdict despite the fact that Mr. Abbott’s killers could not
have been acting out of depraved indifference when they stabbed Mr. Abbott eight
times, including on the neck, chest and back.
The trial judge, Justice Pearl Corrado, during an interview with Court TV, stated
that the jury at Mr. Bellamy’s trial had a very difficult time arriving at a verdict.
She explained:
“They (the jurors) didn’t seem to be making any progress. They kept
asking for read-backs. ... From what they’re asking for, you can
tell, and they just didn’t seem to be moving at all. ... [At the end of

the trial] we found all of the jurors crying, which was an indication
to me that they were suffering as much as the defendant. ...”

Assistant District Attorney David W. Guy who prosecuted the case also
acknowledged the weakness of the People’s case. In an interview with Court TV

he described that : Ms. Sanchez and Mr. Carter had “crumbled”; Ms. Walker was

 

‘Allen charge, named for the case Allen v. United States,164 U.S. 492, 501-502, 17 S.Ct. 154, 41
L.Ed. 528 (1896), is the set of instructions given to a jury when, after deliberation, it reports that
it is deadlocked and unable to decide on a verdict. The purpose of the instruction is to encourage
jurors to re-examine their opinions and attempt to reach a unanimous verdict if possible. Because
it is used to dislodge jurors from entrenched positions that might otherwise lead to a hung jury
and a mistrial, the Allen charge is often referred to as the "dynamite charge."

10
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 11 of 88 PagelD #: 2083

48.

49,

50.

51.

52.

a “non-identification”; he was “in trouble”.
In the People’s Sentencing Recommendation Memorandum, Mr. Guy admitted that
“[t]he People’s evidence at trial did not come in as cleanly or as clearly as the
witness’ prior statements and testimony might have led one to expect”, and he
characterized the testimony of the People’s witnesses as “less than crystalline”.
During an interview with Court TV, Mr. Reiver, Bellamy’s court-appointed
counsel said: “I just didn’t see how rational people couldn’t believe that there was
at least a reasonable doubt in this case.”
At Mr. Bellamy’s sentencing hearing, Mr. Reiver was so shocked by the jury’s
verdict that he could only describe Mr. Bellamy’s conviction as a “breakdown in
the jury system”: “I’ve been working in these courts for many years and this is the
first time I feel obliged to make a statement of this nature. I feel that what
happened in this trial was a breakdown in the jury system.”
The Appellate Division in affirming the trial court’s vacatur of the conviction, and
after reviewing the entire record agreed that the trial evidence was underwhelming:
“given the less than overwhelming evidence against the defendant at trial

9

People v. Bellamy, 84 A.D.3d 1260, 1262 (2d
Dept, 2011)

To overcome the underwhelming evidence connecting Mr. Bellamy to the murder.
Defendants Gillen and Solomeno together with the Queens District Attorney’s

Office and Assistant District Attorneys, Anthony Antignani and David Guy

1]
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 12 of 88 PagelD #: 2084

53.

54,

55.

56.

engaged in misconduct to compel the conviction of an innocent man despite there
being no evidence of any nature connecting Mr. Bellamy to the murder.

The misconduct of Defendant Gillen and Solomeno that was condoned by their
superiors, Defendant Pepe and Defendant Schruhl included the manipulation and
coercion of each material prosecution witness, the fabrication and destruction of
evidence and the failure to conduct a minimal investigation.

The City of New York through its final policy makers, the Queens District
Attorney Richard A. Brown, John M. Ryan and Michael J. Mansfield established
policies and practices that animated the misconduct that 1) allowed prosecutors to
operate in a climate of impunity by never reprimanding or disciplining for
misconduct; 2) by withholding exculpatory and impeachment evidence from the
defense, with a policy that shielded the trial prosecutor from knowledge of the
benefits conferred by the District Attorney’s Office to prosecution witnesses 3) by
withholding exculpatory and impeachment evidence from the defense through a
policy that directed the trial prosecutors not to take handwritten notes when
interviewing prosecution witnesses.

The policies, practices and customs of the defendant City of New York violated
Mr. Bellamy’s constitutional right to a fair trial and his right not to be wrongfully
deprived of his liberty.

Defendant police officers Gillen and Solomeno separately and together,

12
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 13 of 88 PagelD #: 2085

deliberately, maliciously, wrongfully and illegally manipulated the testimony of
each of the three fact witnesses: Linda Sanchez, Andrew Carter and Veronica
Walker, so as to compel a conviction when they were fully aware of Mr. Bellamy’s
actual innocence.

The Manipulation of Linda Sanchez

Defendant Gillen and Solomeno Concealed from the Prosecutor and Mr. Bellamy

57.

58.

59,

60.

61.

That on Day of the Murder Sanchez Told
Them That She did Not See Anything

Linda Sanchez — who did not witness the murder — was nineteen years old and was
working as a cashier at C-Town, one block from the scene of the murder.

At the trial Sanchez testified that shortly before the murder she saw Mr. Bellamy
and another individual follow Mr. Abbott out of the C-Town grocery store.

As Mr. Abbott had been carrying a C-Town shopping bag, immediately after the
murder police homicide detectives entered C-Town with photographs of Abbott
asking employees if they had seen Abbott alone or with anyone else.

Ms. Sanchez, when interviewed shortly after the murder, told Defendants Gillen
and Solomeno that she “didn’t see anything” and “didn’t know nothing”.

The fact that on the day of the murder Ms. Sanchez told the investigative
detectives the she did not see anything, was withheld by Defendants Gillen and
Solomeno from the prosecutor and from both the Grand and Petit Jury.

Defendant Gillen and David Guy, the Trial Prosecutor Manipulated
Sanchez’ Observation that she saw Bellamy on Sunday not Saturday

13
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 14 of 88 PagelD #: 2086

62.

63.

64.

65.

66.

67.

68.

69.

Even though on the day of the murder Sanchez told the investigative detectives
that she “didn’t see anything,” ten days later Ms. Sanchez called the police to say
that she had seen two men standing behind the victim on another cashier’s line.
Defendants Gillen and Solomeno interviewed Ms. Sanchez a day or two after her
call.

Ms. Sanchez told the defendants Gillen and Solomeno that she saw Mr. Bellamy
on a day on which Mr. Bellamy was trying to purchase beer on a day that such
purchase was illegal.

As defendants Gillen and Solomeno knew it was illegal in 1994 to sell beer on
Sunday morning, Sanchez was telling defendants Gillen and Solomeno that she
saw Bellamy on a Sunday (the murder occurred on April 9, 1994, a Saturday).

Ms. Sanchez telling defendants Gillen and Solomeno that she saw Mr. Bellamy on
a day he was not allowed to buy beer, was not disclosed by either defendant Gillen
or Solomeno to the prosecutor and therefore not to the defense.

A few weeks after the interview, Defendant Gillen took Sanchez to the precinct to
attend the May 14, 1994 lineup. At the lineup Sanchez when identifying Mr.
Bellamy, Sanchez again told Defendant Gillen that she saw Mr. Bellamy on
“Sunday”.

“Sunday” was then recorded on the original line up record.

Sometime thereafter but before the September 9, 1994 suppression hearing,

14
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 15 of 88 PagelD #: 2087

70.

71.

72.

73.

74.

75.

defendant Gillen forged the original lineup record.

Defendant Gillen changed “Sunday” to “Saturday,” and then added a second
handwritten sentence to the lineup record, so as to obfuscate the alteration.

The original form was destroyed by defendant Gillen and a photocopy of the
doctored document was turned over by Gillen to the prosecutor.

Upon information and belief, Sanchez during her pre-trial preparation with the trial
prosecutor, also told the prosecutor, David Guy, that she saw Mr. Bellamy on a day
he could not buy beer; to wit: Sunday.

Upon information and belief, during this interview during which no notes were
taken, Guy repeatedly coached and corrected Ms. Sanchez when she insisted she

saw Mr. Bellamy on Sunday.

Sanchez telling Defendant Gillen and Solomeno that she Observed Bellamy

on Sunday was Consistent with her Testimony that the Sale Signs
Covering the C-Town Windows Were Down that Morning

At the trial Ms. Sanchez, guided with leading questions, testified that shortly
before 9:30 a.m. on April 9, 1994, she saw Mr. Bellamy and another man standing
behind Mr. Abbott on the same cash register line at C-Town two or three rows
away from her cashier.

When Mr. Abbott left C-Town, Ms. Sanchez testified that he walked toward a
vacant restaurant at the far end of the C-Town parking lot, passed the two men

who were standing there, and the three men then walked together away from C-

15
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 16 of 88 PagelD #: 2088

76.

77.

78.

79.

80.

81.

82.

Town.
Sanchez said she was able to make this observation in part because sale posters
ordinarily covering the C-Town windows were down.
Defendants Gillen and Solomeno, having interviewed Ms. Sanchez knew she did
not see Mr. Bellamy on that Saturday morning.
A cursory investigation by defendants Gillen and Solomeno would have
established that the sale posters covered the C-Town windows that Saturday
morning.
Defendant Gillen and Solomeno Tell Sanchez that as an
“Intimidated Witness” She Would Be Entitled
to Financial and Housing Assistance
In 1995 at the time of the trial Sanchez was on public assistance and living with
her three children in one room located in her brother’s home.
As she knew she saw Mr. Bellamy on Sunday and not Saturday, the day of the
murder, Sanchez was reluctant to testify. For months before the trial she would
not answer telephone calls from Defendants Gillen or Solomeno.
Gillen and Solomeno, aware of her housing situation, knew she was in desperate
need of housing and financial assistance for herself and her children.
Upon information and belief, Defendants Gillen and Solomeno told Sanchez that

the QDAO could provide financial and housing benefits if she claimed that she had

been threatened or was an intimidated witness.

16
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 17 of 88 PagelD #: 2089

83.

84.

85.

86.

87.

88.

89.

Ms. Sanchez then “remembered” that 18 months earlier, a few days after the
murder, that Mr. Bellamy came to her cashier line and threatened her by saying ,
“You know, you know, you fucking bitch, you’re next.”

Ms. Sanchez testified that on the day of Mr. Bellamy’s arrest, upon seeing her
across the street Mr. Bellamy menacingly wagged his finger at her.

Neither threat was reported to anyone at the time they were made, nor were the
threats mentioned in her May 19, 1994 Grand Jury testimony or to the A.D.A. who
prepared her for her testimony.

Sanchez never felt intimidated or threatened. For eighteen months after the
murder she continued her normal daily routine and continued to work at C-Town
long after the threats were made.

Ms. Sanchez did not tell any of her fellow employees at C-Town that she was
threatened.

That Bellamy would threaten Sanchez made no sense, as Bellamy, according to
Sanchez, had not been on Sanchez’ cashier’s line and had not been arrested at the
time the threats were made.

Defendants Gillen and Solomeno knew or should have known or were deliberately
indifferent to the fact that the threats were contrived so that Sanchez would be
eligible to receive financial and housing assistance from the Queen’s District

Attorney’s Office.

17
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 18 of 88 PagelD #: 2090

90.

91.

92.

93.

94.

95.

96.

97.

98.

The trial had already begun and the supposed threats would bolster the very weak
prosecution case.

Before Sanchez testified, the QDAO promised her housing assistance for the rest
of her life.

First she was promised a rent-free three bedroom apartment for herself, her
boyfriend (father of two of her children) and her three children.

The QDAO then transitioned Ms. Sanchez to a permanent three bedroom federally
subsidized Section 8 apartment, the same apartment in which she continues to live
today.

The subsidized Section 8 apartment promised to Sanchez is at a rental which is a
fraction of the market value for a three bedroom apartment.

When Ms. Sanchez was called as a prosecution witness on November 28, 1995,

she testified that all she received from the QDAO was $50 and a promise of an
additional $50 for milk and diaper money.

On the very day of this testimony and undisclosed, Ms. Sanchez was given $250 by
the QDAO and was promised that this $250 payment would continue every two
weeks for an indefinite period.

These payments totaling over $6,000 then continued for at least 50 weeks until she
was placed into the Section 8 apartment.

The financial assistance of the QDAO was in addition to the public assistance

18
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 19 of 88 PagelD #: 2091

OD

100.

101.

102.

103.

104.

105.

106.

monies she was already receiving.

Sanchez was also promised that she would receive payment of the first and last
months’ rent upon her finding permanent housing.

Eventually, Sanchez received an additional $2,800 lump sum payment for
“relocation” expenses.

These payments were made despite Ms. Sanchez being on public assistance and
being ineligible for receiving outside income.

These promised benefits were withheld from the trial prosecutor pursuant to a
policy described by the QDAO as a “Chinese wall” that shielded the trial
prosecutor from knowledge of the benefits the witness is promised by a separate
internal department.

This “Chinese wall” policy insures that disclosure of promises, which constitute
Brady material, are not disclosed to the defense.

At the time the QDAO promised Sanchez that they could assist her in obtaining
permanent housing, the eligibility list for Section 8 was closed to the general
public. http:/Avww.nyc.gov/html/nycha/html/section8/lh_app_faqs.shtml#q7
One of the few exceptions for eligibility when the Section 8 list is closed, is for
those individuals who claim to be “intimidated prosecution witnesses.”
hito:/Awww.nytimes.com/2007/01/30/nvregion/3 0housine html

As promised by the QDAO, Ms. Sanchez was certified to the Section 8 Housing

19
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 20 of 88 PagelD #: 2092

107.

108.

109.

110.

111.

112.

113.

Administrator that in light of the threats Ms. Sanchez was an “intimidated
prosecution witness.”

The benefits promised to Sanchez was not because she was a witness who required
protection but to induce her testimony.

Pursuant to the Witness Protection Program (“WPP”) a witness receiving housing
assistance must agree to be relocated to another borough.

Sanchez who was not intimidated, refused to be relocated to a different borough as
required under the WPP policy and negotiated that her housing be close to her Far
Rockaway neighborhood.

Sanchez’ identity was not changed and she was given housing only a few miles
from her home and family in Far Rockaway.

The substantial financial and housing assistance that Sanchez was promised and
received, if it had been disclosed, would have explained to the jury the
inexplicable purported threat first reported on the eve of trial 18 months after it
was made.

The failure to disclose the full extent of the benefits that were promised, left the
defense lawyer unable to offer a plausible argument as to the reason the threats
were fabricated.

The Chinese Wall Policy of the QDAO

Because of the QDAO’s policy that insulated the trial prosecutor from the

20
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 21 of 88 PagelD #: 2093

114.

115.

116.

117.

knowledge of the financial and housing benefits that were conferred on witnesses,
the trial prosecutor did not know of the extensive benefits promised to Ms.
Sanchez. As a result, Mr. Bellamy was deprived of his constitutional right to
Brady material.

In 1994/1995 the law was well established that such an intra-office “wall” that
would avoid disclosing to the trial prosecutor the promises of benefits made to
witnesses, violated defendant’s constitutional rights. Giglio v. U.S., 405 U.S. 150
(1972); People v. Novoa, 70 N.Y. 2d 490 (1987).

In People v. Steadman, 82 N.Y.2d 1 (1993), two years before Mr. Bellamy’s trial
New York’s highest Court declared the QDAO’s policy of shielding trial
prosecutors from defendants’ promises made to testifying witnesses deprived
defendants of their constitutional right to a fair trial.

Despite the Steadman decision this “Chinese Wall” policy continued at the time of
Mr. Bellamy’s trial and continues to date.

This “Chinese wall” policy was formulated and implemented by John M. Ryan the
Chief Assistant District Attorney, Queens County together with Bureau Chief
Michael J. Mansfield in charge of the so-called Queens County District Attorney’s
Witness Protection Program and approved by Richard Brown, Queens County

District Attorney.

21
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 22 of 88 PagelD #: 2094

118.

119.

120.

121.

122.

123.

124.

125.

Gillen Suppresses Sanchez’ Identification of Terrill Lee
as the Second Person She Saw, Which Identification
Exculpated Mr. Bellamy
On May 13, 1994, when told the reason for his arrest, Mr. Bellamy gave a
statement that on the morning of the murder that he was with his friend Terrill Lee.
The following day, Defendant Gillen showed Ms. Sanchez the photograph of Lee
and asked her if he was the second person she saw that morning with Mr. Bellamy.
Ms. Sanchez positively identified Lee as the second person who she saw with Mr.
Bellamy.
Defendants Gillen and Solomeno, after interviewing Lee, were aware that Lee had
a solid alibi for the morning of the murder.
Lee’s alibi necessarily ruled out Mr. Bellamy as the perpetrator of the murder,
since Sanchez supposedly saw Lee and Bellamy together.
Defendant Gillen deliberately withheld from the prosecutor that Sanchez had
identified Lee as the second person she saw with Bellamy.
Sanchez’ identification of Lee, who had a solid alibi for Saturday morning, would
have confirmed that Sanchez saw Lee and Bellamy together on Sunday and not on
Saturday.
So as not to alert the prosecutor and thus the defense that a photo of Lee was taken

and had been shown and identified by Sanchez, Defendant Gillen removed from

the police file the Lee photograph and any notes regarding the identification.

22
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 23 of 88 PagelD #: 2095

126.

127.

128.

129.

130.

131.

132.

133.

134.

Lee’s Alibi for the Time of the Murder
Mr. Lee in fact had been with Mr. Bellamy late that morning well after the time of
the murder.
On the day of Mr. Bellamy’s arrest Defendant Gillen went to Terrell Lee’s home to
ask Mr. Lee and his wife Monique to accompany him to the station house for
questioning.
At the station house Defendant Gillen questioned the Lees separately as to Mr.
Lee’s whereabouts on the morning of the murder.
Mr. Lee told Defendant Gillen that he had been at home at the time of the crime
and that he did not leave his home until after the homicide had occurred.
Ms. Lee, interviewed separately by Gillen, confirmed that her husband was home
on the morning of Mr. Abbott’s murder.
After the Monique and Terrill Lee interviews, Defendant Gillen and later A.D.A.
Antignani found Mr. Lee’s alibi for 9:30 a.m credible and thus ruled Lee out as a
suspect.
After the Lee interview no further steps were taken to investigate Lee as the
second assailant.
Ruling out Lee as a suspect was of critical Brady importance since Sanchez
identified Lee as the second person she saw with Mr. Bellamy.

If Sanchez saw Lee and Bellamy together, Lee’s alibi necessarily ruled out Mr.

23
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 24 of 88 PagelD #: 2096

135.

136.

137.

138.

139.

140.

141.

142.

143.

144.

Bellamy.
The exculpatory Lee interviews were withheld from the defense.

Defendant Gillen Manipulates Lee Into Saying that
Lee was Not With Bellamy that Morning

Now that Defendant Gillen knew that Lee had an alibi for the morning of the
murder, Defendant Gillen then took steps to make sure that Bellamy would not use
Lee as an alibi witness at the upcoming trial.

To frighten and intimidate Mr. Lee, Detective Gillen falsely told him that Mr.
Bellamy said he was with Lee at 9:30 a.m. the time of the murder.

This was not true. Mr. Bellamy never told Defendant Gillen he was with Lee at
9:30 a.m.

Bellamy told Defendant Gillen he was with Lee that morning, but well after 9:30.
During the Lee questioning defendant Gillen drew a noose on a piece of paper.
Gillen then told Lee that if he says he was with his friend, Kareem, that morning,
Lee’s head would be in that noose.

Defendant Gillen intentionally used this racially charged symbol to frighten Mr.
Lee who is an African American.

Lee, frightened by Defendant Gillen’s conduct, then told A.D.A. Antignani in the
ensuing taped interview he was not with Mr. Bellamy virtually all that day.
Defendant Gillen’s coercion of Lee to deprive Mr. Bellamy of an alibi witness,

violated Bellamy’s right to a fair trial.

24
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 25 of 88 PagelD #: 2097

145.

146.

147.

148.

149,

150.

151.

152.

Defendant Gillen’s Manipulation of Andrew Carter
Defendant Gillen and Solomeno Were Aware that Carter
Could Not Describe the Assailants
Andrew Carter, a felon who was on parole and was an admitted drug user, was the
prosecution’s only eyewitness to the murder.
Mr. Carter was 41 years old and wheelchair bound because of an injury he
received after being shot by the police while he was committing an armed robbery.
While sitting in his wheelchair Mr. Carter witnessed the stabbing of Mr. Abbott.
On the morning of April 9, 1994, Mr. Carter was waiting for a bus to take him to
visit his mother in Jamaica, Queens.
Mr. Carter was interviewed by the homicide detectives on the day of the murder
and again one week later.
During both interviews Mr. Carter was unable to provide a physical description of
the two assailants, other than to say that they were “black” and that one man was
“taller” and one was “smaller”.
Defendant Gillen and Solomeno were aware of this bare-boned description Carter
gave to the detectives.
Mr. Carter told Defendant Gillen and Solomeno that he had been focused on the
knife and the boots while Mr. Abbott was being brutally stabbed and stomped and

did not see the faces of the perpetrators.

25
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 26 of 88 PagelD #: 2098

153.

154.

155.

156.

157.

158.

159.

160.

161.

Mr. Carter told Defendant Gillen and Solomeno that the “only thing” he noticed
was the “Timberland boots they [the assailants] had on .. . I said I didn’t notice
hair, notice clothes they had on. I didn’t pay attention.”

Defendant Gillen Suggests and Coerces Carter into Identifying Mr. Bellamy
Despite Defendants Gillen and Solomeno being told that Carter did not get a good
look at the faces of the perpetrators, after Bellamy’s arrest, Defendant Gillen took
Carter to the lineup.

Defendant Gillen promised Carter drugs and a motel room for him and his
girlfriend if he would make an identification.

Gillen knew that Carter was an active cocaine and crack user.

This information was not recorded in a police report and was withheld from the
prosecutor.

The lineup was to be held on May 13, 1994, the day of Bellamy’s arrest.

Carter could not attend the lineup that day due to supposed illness.

The next day, on the way to the lineup Mr. Carter repeated to Defendant Gillen
that he “wasn’t sure” if he could identify the person who committed the murder.
Defendant Gillen then falsely and improperly told Carter that the suspect had been
apprehended and would be in the lineup and that the suspect had been bragging

about the murder and had “changed his appearance”.

26
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 27 of 88 PagelD #: 2099

162.

163.

164.

165.

166.

167.

168.

Defendant Gillen telling Carter that the suspect had confessed and would be in the
lineup and had “changed his appearance”, violated Mr. Bellamy’s constitutional
right to a fair lineup identification procedure.

Defendant Gillen then placed Bellamy in position one at the lineup.

At the lineup Mr. Carter identified the filler in position two, as the person he saw
attack Mr. Abboit.

Without the identification of Mr. Bellamy having been made by Mr. Carter, Gillen
knew that there was no probable cause to arrest or indict Mr. Bellamy.

After Mr. Carter identified the filler, defendant Gillen who was at the lineup then
wheeled Mr. Carter from the lineup room and took him into a separate room where
they were alone.

In the private room Defendant Gillen then told Carter that Mr. Bellamy had “[c]ut
his hair, changed his appearance” and that was why Mr. Carter “might not have
recognized him” in the lineup.

Following this private conversation Mr. Carter, who was on parole, succumbed to
Defendant Gillen’s improper suggestions and coercion, and said that he had
changed his mind and that he could now identify the assailant as sitting in position

one (Bellamy).

27
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 28 of 88 PagelD #: 2100

169.

170.

171.

172.

173.

174.

175.

At trial, Mr. Carter, adopting Defendant Gillen’s suggestions, said that he had been
confused in the lineup room because Mr. Bellamy’s hair was braided at the lineup
but was not braided on the day of the murder.

Carter’s statement that Bellamy’s hair was not braided was diametrically
inconsistent with Sanchez’ description that Bellamy wore “a million braids”.

At trial, Mr. Carter repeated Defendant Gillen’s explanation that Mr. Bellamy’s
appearance had changed by the time of the lineup, and that Mr. Bellamy did not
have braids on the day of the murder:

Bellamy in fact wore braids both on April 9" and May 14, 1994 and did not change
his braided hairstyle during this period of time.

Consistent with Carter never having observed the faces, at trial when shown the
line up photo he was not able to and he did not identify Mr. Bellamy as the
perpetrator.

On at least eight different times at trial Carter repeated what he said at the lineup
that he identified filler in position two as the perpetrator.

Despite His Identification of the Filler When Looking at the
Line-Up Photo, Carter Made an In-Court LD.

When asked to make an in-court identification, Carter pointed to Mr. Bellamy,

sitting at the defendant’s table.

28
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 29 of 88 PagelD #: 2101

176.

177.

178.

179.

180.

181.

182.

Defendant Gillen and Solomeno also knew that when Carter made the in-court
identification of Bellamy that it was a product of Defendant Gillen’s coercion and
improper suggestion.
Defendant Gillen’s coercive and suggestive tactics violated Mr. Bellamy’s
constitutional right to a fair trial.

Manipulation of Veronica Walker

Walker Tells Defendant Gillen and Solomeno
that It Was Not Bellamy She Saw

After the trial commenced and Sanchez had testified, the case, as acknowledged by
the prosecutor, had “crumbled”.

Another witness was needed to bolster the weakened case.

On December 1, 1995, two weeks after the trial had begun and after Sanchez had
testified, Defendant Gillen and Solomeno returned to the home of Veronica
Walker.

Months before the trial, Defendant Gillen and Solomeno had interviewed Ms.
Walker at her home in connection with the murder of Mr. Abbott.

Defendant Gillen and Solomeno had been told by Deborah Abbott, the victim’s
sister that Ms. Walker had told the sister that she had been at the scene of the
murder and had seen the victim fighting on the corner of Beach Channel Drive and

Beach 49" Street.

29
~Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 30 of 88 PagelD #: 2102

183.

184.

185.

186.

187.

188.

189.

190.

At this first interview, Walker told Defendant Gillen and Solomeno that she in fact
was at the scene and had seen a man run from behind her car to the intersection
where a fight ensued.

Defendant Gillen then took two photos out of his coat pocket, and told Ms. Walker
that — although he was not supposed to show these photos to her — he wanted her to
look at them and tell him whether she knew the person depicted.

Defendant Gillen then placed the photos on the table.

Ms. Walker told Defendant Gillen that she knew the person depicted in the photos
— Kareem Bellamy — because the mother of Mr. Bellamy’s son lived next door to
Ms. Walker.

Defendant Gillen falsely promised Walker that Mr. Bellamy had gone to the 101st
police precinct and said “I heard you [are] looking for me for a murder” and that
Mr. Bellamy had confessed to the murder.

Walker then told Defendant Gillen and Solomeno that it “wasn’t Kareem” who she
saw run from behind a car, because she knew Mr. Bellamy.

Defendant Gillen did not record or report this exculpatory statement and it was
withheld from the prosecutor and the defense.

Not satisfied by Walker’s non-identification and using the same coercive
suggestion used with Carter, defendant Gillen said that photos of Mr. Bellamy

looked different because Mr. Bellamy had started to take the braids out of his hair

30
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 31 of 88 PagelD #: 2103

191,

192.

193.

194.

195.

196.

in one photo and Mr. Bellamy did not have any braids in his hair in the second
photo.

Defendant Gillen also told Walker that the police could relocate her and her family
if she was afraid of testifying.

When Walker would still not identify Mr. Bellamy, to further frighten and
intimidate her Defendant Gillen told Ms. Walker that if she did not confirm
Deborah Abbott’s (sister of James Abbott) account of what Ms. Walker
supposedly observed on the day of the murder, Ms. Walker would be charged with
perjury.

Ms. Walker repeated to defendant Gillen that it was not Mr. Bellamy who she saw.
Fearful that Walker might make an identification that would undermine their case
against Mr. Bellamy, Defendants Gillen and Solomeno, who had no interest in
conducting an investigation to find the real culprits, did not ask Walker to view
photos of LeVon Melvin or Rodney Harris, suspects identified in the Simmons
report.

Solomeno prepared a false handwritten statement for Ms. Walker to sign that
stated that Walker identified Kareem Bellamy as the person she saw stabbing and
kicking Mr. Abbott.

Walker refused to sign the false statement given to her by Solomeno and repeated

that it was not true that it was Mr. Bellamy whom she saw that morning.

31
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 32 of 88 PagelD #: 2104

197.

198.

199.

200.

201.

202.

203.

When Defendants Gillen and Solomeno persisted in their effort to coerce Ms.
Walker into identifying Mr. Bellamy, Ms. Walker demanded that the detectives
leave her home.

Before Ms. Walker took the witness stand, Defendants Gillen and Solomeno knew
that Walker specifically told them that Bellamy was not the person she saw.

Gillen and Solomeno suppressed from the prosecutor this interview of Ms. Walker
which exculpated Mr. Bellamy.

As Gillen and Solemeno either purposefully did not prepare a police record of this
interview or destroyed the notes of the interview, the defense was in the dark both
as to Ms. Walker having seen the struggle and also that she said she had not seen
Mr. Bellamy on the corner at the scene of the murder.

On December 1*, with the prosecution case crumbling and desperate to bolster the
case Defendants Gillen and Solomeno served a subpoena on Ms. Walker despite
knowing that Walker positively did not identify Mr. Bellamy.

Solomeno prepared a false DD5, and gave it to the prosecutor and the defense,
stating that Ms. Walker told defendant Solomeno that she had identified Mr.
Bellamy as fighting, punching and kicking James Abbott, Jr. at the intersection
where the murder occurred.

On her way to the courthouse to testify at the original trial, Ms. Walker again told

Defendants Gillen and Solomeno that they were not going to get what they wanted.

32
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 33 of 88 PagelD #: 2105

204.

205.

206.

207,

208.

209.

210.

211.

At the 440, Ms. Walker explained what she meant by that statement:
“What I meant by that was that I wasn’t gonna corroborate what Detective
Gillen wanted me to say, that I seen him [Kareem Bellamy] do it. And they
weren’t going to get that. I’m not gonna lie to them. I’m not gonna say that
I saw him do something and he didn’t do it.”
Ms. Walker testified at the trial that on the morning of April 9, 1994, she went to
C-Town for some groceries.
As she walked into C-Town, she saw Mr. Abbott leave the store and exchanged
brief pleasantries with him.
After shopping for several minutes, Ms. Walker returned to her car and began to
drive down Beach Channel Drive to her hairdresser.
Ms. Walker testified that at the intersection of Beach Channel Drive and Beach
49th Street, she observed someone run behind her car.
That person, whom she described as a “slim” black man with braided hair, then
joined another person who was fighting with Mr. Abbott at the corner of Beach
Channel Drive and Beach 48th Street.
When Ms. Walker was asked at trial to identify the man she saw run behind her
car, to the prosecutor’s dismay, as he had relied upon Solomeno’s false DDS,
Ms. Walker, as she had previously told defendants Gillen and Solomeno, did not

identify Mr. Bellamy as the person she saw.

Guy then used the falsified DD5 to attempt to impeach Ms. Walker.

33
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 34 of 88 PagelD #: 2106

212.

213.

214.

215.

216.

217.

Pursuant to the QDAO’s policy that winning is everything and intent on winning
the case at any cost, in his closing statement Mr. Guy twisted Ms. Walker’s “non-
identification” into a corroboration of Mr. Carter’s and Ms. Sanchez’s
(contradictory) identifications since Ms. Walker described the person who ran
behind her car as “short with braided hair”.

Walker’s numerous statements to Defendants Gillen and Solomeno that it was not
Mr. Bellamy she saw, were deliberately withheld by Defendants Gillen and

Solomeno from the prosecutor and thus from the defense.

Defendant Gillen Fabricates that Mr. Bellamy Made a Statement
After His Arrest

Defendant Gillen knew that there had been no probable cause to arrest Mr.
Bellamy and to hold Mr. Bellamy overnight, awaiting the Carter and Sanchez
lineup.

A hearing to suppress the statements of Mr. Bellamy and the identification of Mr.
Bellamy was scheduled for September 9, 1994.

To establish probable cause for the arrest, Defendant Gillen falsely recorded that
Bellamy made a statement in the police car after his arrest for drinking in public:
“This must be a case of mistaken identity. Somebody probably accused me of
murdering someone.”

Bellamy’s purported statement made in the police car was not recorded in a police
report (DDS).

34
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 35 of 88 PagelD #: 2107

218.

219.

220.

221.

222.

223.

224.

None of the other officers who were also in the police car corroborated Defendant
Gillen’s account that the statement was made.

Gillen, having forgotten that he previously prepared and submitted the fabricated
statement, prepared a second version. The second version of the note is an exact
duplicate of the first version, except that it also includes the following sentence
added by Defendant Gillen at a later point in time: “Statement made by def while
being asked his pedigree — Spontaneous & unsolicited.”

This addendum “spontaneous & unsolicited” was also fabricated to support the
alleged spontaneity of the statement.

The prosecution repeatedly pointed to this fabricated statement, to bolster their
weak evidentiary case, as evidence of consciousness of guilt.

The Hearing Judge relied on this fabricated statement to establish probable cause
for the arrest and deny suppression of Bellamy’s statement and the Sanchez and
Carter identifications.

Defendant Gillen and Solomeno Deliberately
Do Not Investigate Third Party Culpability

Defendant Gillen and Solomeno did not investigate credible evidence of third
party culpability as further investigation could only exculpate Mr. Bellamy.
Shortly after the murder Defendant Gillen received a telephone report from a

person who identified herself as “Anna Simmons”.

35
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 36 of 88 PagelD #: 2108

225,

Ms. Simmons told the police that she overheard two men named Rodney Harris
and an Ishmael, who was later identified as Le Von Melvin, confess to being

“involved in [the] homicide” of Mr. Abbott.

226. ‘The Simmons’ report also described the way the murder in fact happened:

227.

228.

“. .. They followed the victim from the supermarket. She stated that they
had waited for the victim to come out of the supermarket. They followed
him to the c/o the incident and while he was on the phone got out of their
care and “snuffed him”. She went on to inform the undersigned that she
understood “snuffed” to mean kill. The female continued, saying that these
two males were part of a gang who call themselves the Regulators. The
victim may have ben asked to join the gang and had refused. After the
incident the two males got back into the car and left. She stated that she is
familiar with both males and gave the following description of them:

1. Rodney Harris M/B 26-27 yoa
5610 Beach channel Drive
Apartment 7g or 7H
Short possibly 5'2 - 5'4
Wears read hoodies

2. Ishmel
5449 Almeda Avenue

m/b 27-29 yoa
Possibly head of the Regulators”

Defendant Gillen and Solomeno Do Not Interview Either
Levon “Ish” Melvin or Rodney “Turk” Harris
Although they received the Simmons’ report only days after the murder, no steps
were taken to investigate this Simmons’ lead.
Defendants Gillen and Solomeno made no efforts to ascertain the whereabouts of

Mr. Harris or Mr. Melvin on the morning of Mr. Abbott’s murder.

36
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 37 of 88 PagelD #: 2109

229,

230.

231,

232.

233.

234.

235.

Defendants Gillen and Solomeno never sought to question Mr. Melvin or Mr.
Harris.
Defendant Gillen testified that two photo arrays of Harris and Melvin were
prepared and shown to Mr. Carter and Ms. Sanchez.
Although it is standard police practice to prepare a police report (DDS) to record
investigative events, a DDS5 was not prepared for the viewing of the photo array of
either Harris or Melvin.
After the conclusion of the suppression hearing on September 9, 1994, Bellamy’s
counsel asked for the police report detailing steps taken to investigate the Simmons
lead as no police records of the purported follow-up existed.
In November, six months after the fact, Defendant Gillen then prepared a DD5
falsely stating that he went to the apartment mentioned in the Simmons report and
to the laundromat to look for Ms. Simmons.
The usual and customary contemporaneous police reports of efforts made to
follow-up on the Simmons’ lead are not contained in the file.
Defendant Gillen Does Not Allow Mr. Bellamy to Make a Telephone Call

to His Family so as to Prevent Mr. Bellamy from Having an Attorney

Present at the Lineup

On May 13, 1994, Mr. Bellamy, while standing in front of his home, was taken

into custody at gunpoint by Defendant Gillen accompanied by two other officers,

all with guns drawn and pointed at Mr. Bellamy.

37
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 38 of 88 PagelD #: 2110

236.

237.

238.

239,

240.

241.

242.

243.

244.

Defendant Gillen told Mr. Bellamy that he was being taken to the precinct to
receive a fine for drinking in public.

After arriving at the precinct, Mr. Bellamy was shown a photo of Mr. Abbott’s
dead body and told that two people had identified Mr. Bellamy as one of the
murderers.

While Mr. Bellamy denied any involvement in the murder, he was placed in a
holding pen to await a lineup.

Defendant Gillen would not allow Mr. Bellamy’s repeated requests to call his
family.

Defendant Gillen would not permit Mr. Bellamy to call his family so as to be sure
that Mr. Bellamy would be unable to retain an attorney to be present at the lineup.
The lineup was held on May 14, 1994, the day following Mr. Bellamy’s arrest.

After Bellamy’s Arrest, the Case was Closed and No
Further Steps To Investigate the Murder Were Undertaken

Defendant Gillen told Mr. Bellamy while he was in the holding cell, “Once I close
the door, it closes for good.”

After Carter’s May 14" coerced lineup identification, Defendants Gillen,
Solomeno, Pepe and Schruhl closed the murder investigation.

Defendants Gillen, Solomeno, Pepe and Schruhl took no steps to investigate to

test for blood samples on the boots worn by Mr. Bellamy, Terrell Lee, LeVon

38
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 39 of 88 PagelD #: 2111

245.

246.

247,

248,

Melvin or Rodney Harris, or to even find the second perpetrator after May 19,
1994,

Detectives Gillen and Solomeno knew that further investigation could only
exonerate the innocent Mr. Bellamy.

Defendants Pepe and Schruhl Fail to Supervise
Defendants Gillen and Solomeno

NYPD has established investigative procedures and practices that are intended in
part to safeguard the integrity of the investigation and to safeguard the

constitutional rights of suspects or defendants during the investigation of a crime.

Defendants Schruhl and Pepe had the superintendent responsibility of insuring that
their subordinate detectives follow these police practices. Despite this
responsibility, Schruhl and Pepe were deliberately indifferent to the fact that these
investigatory practices (more fully described in paragraphs 248-256 herein) were
being circumvented by their subordinates thereby potentially causing constitutional
violations.

NYPD police investigative practices provide for the preparation of police reports
(DD5's) to document the progress of the criminal investigation and to record
important investigative events including but not limited to witness follow-ups and
interviews, the recording of statements of suspects when made, referrals for

forensic testing and the identification procedures that are undertaken.

39
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 40 of 88 PagelD #: 2112

249,

250.

251.

252.

Defendants Schruhl and Pepe were aware of the importance of these police reports
to the criminal defendant as the investigative file including the DD5's is sent to the
assigned trial prosecutor to be reviewed for potential_exculpatory information that
is constitutionally required to be turned over to the defendant.

To insure that investigations are fairly conducted and to preserve the integrity of
the investigation and to avoid the removal of DD5's from the investigative file or
the altering of the police reports, DD5's are required to be 1) sequentially
numbered; 2) reviewed and then countersigned by a supervisor; 3) incorporated
into a main Index Sheet; and 4) copies transmitted to the NYPD District and/or
Central Office.

As a direct cause of defendant’s Schruhl and Pepe’s failure to supervise or train
and their deliberate indifference to the constitutional rights of the defendants,
DD5's were not prepared for important investigative events, when prepared were
not numbered, were not reviewed by a supervisor, were not incorporated into an
Index Sheet and were not transmitted to the District and Central offices of the
NYPD.

Standard police investigative practices and procedures provide for the preparation
of photo arrays to be shown to witnesses. To insure that the arrays are in fact
shown and to accurately record the results of the witness police practice and

procedures require that after the array is assembled and presented to a witness that

40
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 41 of 88 PagelD #: 2113

253.

254.

255,

such be incorporated into a police report and that a record made on the array form
as to the result of the identification and then confirmed by the signature of the
viewing witness.

Defendants Schruhl and Pepe were either aware of or deliberately indifferent and
grossly negligent to the fact that these photo array procedures were not followed
and failed to adequately supervise, train or discipline their subordinates to insure
that the procedures that safeguard the constitutional rights of the defendant are
implemented, and were aware that the failure to follow these practices would cause
constitutional violations.

There is no police report reflecting that the photo arrays that included the suspects
Levon “Ish” Melvin and Rodney “Turk” Harris were ever shown to the only
eyewitness Carter. Despite the trial testimony of defendant Gillen as part of the
case in chief that Harris and Melvin were carefully ruled out as suspects, the
Harris/Melvin arrays were not shown to Carter, the only eyewitness.

As a direct cause of Schruhl’s and Pepe’s failure to supervise or their deliberate
indifference to, and/or failure to adequately supervise, train or discipline their
subordinates to follow proper police investigative procedures and practices,
Bellamy’s constitutional rights to a fair trial were violated in that it allowed Gillen

and Solomeno to:

4]
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 42 of 88 PagelD #: 2114

a. fabricate Bellamy’s statement that “This must be a case of mistaken
identity. Somebody probably accused me of murdering someone.”

b. Fail to document and thus suppress Michelle Abbott’s report that a few days
before her husband’s murder, she had witnessed her husband and his friend,
Eric Jefferies packaging marijuana; and

c. Fail to document and thus suppress Deborah Abbott’s report that her
brother may have been murdered by a jealous boyfriend;

d. Fail to document and thus suppress evidence that Eric Jefferies was a
suspect in the murder;

e. Fail to document and thus suppress the fact that Sanchez identified Lee as

the second person she saw with Bellamy;

f. allow the original line up sheet that recorded that Sanchez saw Bellamy on a
Sunday to be “lost.”

g. falsify that the arrays of Melvin and Harris were shown to Carter;

h. fail to conduct any investigation or follow up of the Simmons call that had

reported that Melvin and Harris had bragged about killing Abbott. Melvin
and Harris were never interviewed.

i. allow the alteration of the Lila police report, a witness who saw the
perpetrators wearing hoods while struggling with the victim, but the police

report recorded that Lila had not seen anything. Hoods would have

42
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 43 of 88 PagelD #: 2115

corroborated the Simmons’ report that Melvin and Harris wore “Hoodies,”

and would be consistent with Sanchez’ description of Bellamy as wearing a

hat.
j. fail to take any steps to investigate the unapprehended second perpetrator;
k, close the investigation upon Bellamy’s arrest and thereafter taking no

further investigatory steps of any kind;

1. fail to conduct any forensic testing including blood tests on the clothes and
boots of Bellamy, Melvin or Harris;

m. deprived Bellamy of a third party culpability defense;

n. fail to transmit to the trial prosecutor exculpatory information to which
Bellamy was constitutionally entitled.

256. Defendants Schruhl and Pepe were personally involved in defendants Gillen’s and
Solomeno’s misconduct through their gross negligence, deliberate indifference,
and failure to supervise, train or discipline defendants Gillen and Solomeno to
follow the aforementioned procedures and practices which failure established a
policy or custom that would necessarily lead to constitutional violations and the

deprivation of a defendant’s right to a fair trial.

Defendant Gillen and Solomeno Suppress Evidence
that The Perpetrators Were Wearing Hoods

43
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 44 of 88 PagelD #: 2116

257.

258.

259.

260.

261.

262.

263.

264.

265.

266.

The Simmons’ report identified the two perpetrators LeVon Melvin and Rodney
Harris as wearing “hoodies”.
As testified to by Ms. Sanchez, during the period of time of the murder Mr.
Bellamy was known to and wore a green hat.
Mr. Bellamy did not wear or own a hooded sweater.
Defendants Gillen and Solomeno purposefully concealed the witness interviews of
Brijmohan Lila and Maria Vega, that the perpetrators wore hoods.

Brijmohan Lila Sees Perpetrators Wearing Hoods
Mr. Lila lives on the northeast corner of Beach Channel Drive and Beach 48th
Street, across the street diagonally from where the murder of Mr. Abbott took
place.
Mr. Lila had an unobstructed view of the murder scene.
On the morning of April 9, 1994, Mr. Lila looked outside his front door window
and saw three men fighting by the phone booth across the street from his house.
Mr. Lila observed that two of the men were wearing sweatshirts with hoods that
covered their heads.
After viewing the fight for a few seconds, Mr. Lila went to his bedroom and called
the police.
When he returned to the front window a couple minutes later, Mr. Lila saw one

man lying in the street and the two hooded men running down Beach 48th Street.

44
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 45 of 88 PagelD #: 2117

267.

268.

269.

270.

271.

272.

273.

As Mr. Lila lived across the street from where the murder took place, Mr. Lila was

interviewed by two police officers on the morning of April 9, 1994.

Mr. Lila told the police that he saw part of the struggle and showed them where he

was standing in his house when he viewed the attack.

During two separate police interviews Mr. Lila said that the men who were

involved in the fight were wearing hoods.

To conceal this observation, a false DD5 was prepared of Mr. Lila’s April 9, 1994

interview which DDS stated that Mr. Lila did not witness the fight at all.

The DDS falsely recounts that Lila, when asked by a police officer if he heard gun

shots, said he did not see the struggle:
“On this date at 1100 hrs. the undersigned interviewed Mr. Brijmohan at
which time he stated that on this date at approx. 0945 hrs. he walked out of
his residence and looked across the street at the c/o B 48 St. and B.C.D. by
the telephone and observed a M/B with a green jacket with packages on the
phone (public)[.] He then went back inside and went down into the
basement and looked outside the basement door and observed a police car at
the corner on B 48 St. and B.C.D. He asked [them] what happened at
which time a police officer told him that someone was shot and asked me if
I heard any gunshots at which time I told him no.”

Mr. Lila’s account of hooded men attacking Mr. Abbott was never disclosed to the

prosecutor by Defendant Gillen or Solomeno as that account would exculpate Mr.

Bellamy who was known to wear a hat.

The false DD5 also served to mislead the defense from interviewing Mr. Lila.

45
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 46 of 88 PagelD #: 2118

274,

275.

276.

277.

278.

279.

280.

281.

282.

The record of any canvass or interviews of residents at the scene of the murder is
missing from the police file.
The fabricated DDS was turned over to the prosecutor and later to the defense.
Defendant Gillen and Solomeno also suppressed a witness interview of Maria
Vega who also saw that the assailants were hooded.

Maria Vega Also Sees Perpetrators Wearing Hoods
Ms. Vega arrived at the scene of the crime shortly after Mr. Abbott was stabbed.
Ms. Vega was riding in a car with her husband (Victor Vargas), her parents and
her daughter on the morning of April 9, 1994.

They had just left C-Town — where they had gone shopping — and were driving
down Beach Channel Drive when they saw a man lying in the street near the phone
booth on the corner of Beach 48th Street.

When she first saw the man lying in the street, she also saw a man wearing a hood
walking “real fast”, “{l]ike running away” from the scene toward Beach 49th

Street.

Ms. Vega told the police, who took notes, that she saw someone wearing a hood
“walking fast, like running away” from the crime scene.

Before turning over the file to the prosecutor, Defendant Gillen removed these
notes of the Vega interview as the fact that the perpetrators were seen to be

hooded, exculpated Mr. Bellamy.

46
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 47 of 88 PagelD #: 2119

283.

284,

285.

286.

287.

288.

289,

Defendant Gillen and Solomeno conspired to withhold witness interviews that

provided alternate theories of the murder.

Defendant Gillen and Solomeno Suppress Interviews
that Establish A Third Party Culpability Motive

Michelle Abbott Observes Her Husband with a Gun,
Bullet-proof Vest, and Packaging Drugs

Michelle Abbott is the widow of James Abbott, Jr.

On the day of her husband’s murder, Mrs. Abbott told the police about an incident
that occurred at her house involving her husband and his best friend, Eric Jefferies.
Mrs. Abbott said that she told Defendant Gillen that a few weeks before the
murder, she saw her husband James Abbott and his best friend Mr. Eric Jefferies
packaging bags of marijuana in her kitchen.

There was a bulletproof vest on the table, and Mr. Jefferies had a gun with him.
The DD5 turned over to the prosecutor prepared by Solomeno left out any mention
of what Mrs. Abbott told him regarding this theory of third-party motive.

Before turning over the file to the prosecutor, defendants Gillen and Solomeno

either altered or removed this interview from the file.

47
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 48 of 88 PagelD #: 2120

290.

291.

292.

293.

294,

295.

296.

297,

298,

299.

Instead and to mislead the defense, defendants Gillen and Solomeno prepared a
police report that omitted this alternate theory of the murder.

Eric Jefferies Confirms that James Abbott was
Packaging Drugs and Had a Gun and a Bullet-Proof Vest

Eric Jefferies was the best friend of Mr. Abbott.
At approximately 3:00 p.m. on the day of the murder, Defendant Gillen and
Solomeno contacted Mr. Jefferies and asked him to come to the police precinct.
Jefferies corroborated the widow’s statement that Mr. Abbott had drugs (he said he
had “oregano”), a gun and a bulletproof vest at Mr. Abbott’s home.
Before turning over the file to the prosecutor, defendants Gillen and Solomeno
removed this Jefferies’ interview that established an alternate theory of the murder.
Instead Defendant Gillen turned over to the prosecutor a DD5 that omitted this
alternate theory of the murder.

Deborah Abbott Provides Jealousy as a Theory of the Murder
On April 9, 1994 defendants Gillen and Solomeno interviewed Deborah Abbott,
sister of James.
Deborah Abbott provided a possible motive for the murder.
Ms. Abbott told the detectives that her husband had been threatened by a boyfriend
of Mr. Abbott’s former girlfriend.

It was ascertained at the 440 hearing that the motive for the murder was jealousy.

48
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 49 of 88 PagelD #: 2121

300. The DDS regarding this alternate theory of the murder was not turned over to the
defense.

301. Defendants Gillen and Solomeno’s failure to investigate and/or to turn over to the
prosecution evidence of an alternative theory of the crime deprived Mr. Bellamy of
his constitutional right to a fair trial.

302. Defendants Pepe and Schruhl's deliberate indifference to police practice and
procedures and their failure to supervise this investigation deprived Mr. Bellamy
of his constitutional right to a fair trial.

Mr. Bellamy’s Indictment for Murder Was A Product of Gillen’s
Manipulation of Carter’s Identification of Bellamy’s and Gillen’s
Concealment of the Sanchez Exculpatory Evidence From the Grand Jury

303. At the time the case was presented to the Grand Jury on May 19, 1994, the only
evidence connecting Mr. Bellamy to the murder was Mr. Carter’s identification.

304. At the Grand Jury Mr. Carter unequivocally testified that he picked out Number
one (Bellamy) at the lineup.

305. ADA Antignani who presented the case to the Grand Jury and who attended the
lineup was aware that Carter’s Grand Jury testimony that he identified Number
One (Bellamy) at the line-up was false.

306. Gillen failed to tell A.D.A. Antignani that Carter’s change of heart was coerced

and suggested by him.

49
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 50 of 88 PagelD #: 2122

307.

308.

309.

310.

311.

312.

313.

314.

Gillen also knew that the testimony that Carter’s identification testimony at the
Grand Jury was a product of his suggestions and coercion.
Defendant Gillen also withheld from the Grand Jury prosecutor that Linda Sanchez
had identified Mr. Lee as the second person she saw with Mr. Bellamy and that
Lee had provided an alibi for the time of the murder.
As aresult of Defendant Gillen’s misconduct Mr. Bellamy was indicted for murder
based on suppressed evidence and a coerced identification.
Desperate to Win the Case at Any Cost and
Operating in a Climate of Impunity, Trial Prosecutor

Delivers an Egregious Closing Argument
Mr. Guy acknowledged the case against Mr. Bellamy was weak.
Guy, in a Court TV interview before the summation was delivered, said that Ms.
Sanchez and Mr. Carter had “crumbled;” that Ms. Walker was a “non-
identification” and he was “in trouble” and needed a strong closing argument.
Mr. Guy was faced with an ethical dilemma. As his witnesses had crumbled and
there was no motive and no evidence to connect Mr. Bellamy to the murder.
Guy had to decide whether the witnesses had “crumbled” because Mr. Bellamy
was innocent or to disregard the non-existent evidence and to knowingly commit
summation misconduct so that he would “win” a conviction.

Guy also knew that the QDAO maintains a win/lost scorecard for each trial

prosecutor.

50
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 51 of 88 PagelD #: 2123

315.

316.

317,

318.

319.

320.

Guy also knew that the scorecard is one of the considerations in determining
promotions of trial prosecutors.

Guy was also aware of the QDAO’s custom and practice of never reprimanding or
disciplining prosecutors for misconduct.

At this ethical crossroads, without fear of reprimand or discipline Guy then elected
to take the path of winning at any cost and to coerce a conviction by delivering the
most egregious closing argument imaginable, where virtually each page of the
closing transcript contains statements that exceed all reasonable bounds of
constitutionally acceptable rhetoric.

Mr. Guy told the jury that he had personal information, not revealed to the jury, as
to who committed the murder:

“I know who committed the murder.” You know it was an intentional murder and
you know there is no rational explanation for why so many people are pointing
their fingers at the guy just like the needle of the compass unless he is in fact the
right man.” (Addendum 3, 8).

Then Mr. Guy tells the jury that Mr. Bellamy had gotten away with murder before:

“It’s because the evidence shows that you are a murderer and that you are
not going to get away with it, not this time.” (Addendum 33, 41)

Not having evidence of motive, Mr. Guy then incredibly shifts the burden of proof
to Mr. Bellamy to prove the negative, that he had no motive to kill Mr. Abbott:
“Where is there proof of motive? There is none. Where is there proof

defendant had no motive to kill somebody? I submit there is no proof that
he had no motive.” (Addendum 4, 30)

51
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 52 of 88 PagelD #: 2124

321. The prosecutor improperly argued that the very fact that Mr. Bellamy put forth an
alibi is proof of guilt.

322. During his closing Mr. Guy argued that the fact that Mr. Bellamy presented an
alibi (from his stepfather) is itself evidence that he committed the murder because
guilty people fabricate alibis:

“Did anybody think that the defendant’s stepfather was going to come in

and say well, you know, in all truth the defendant really wasn’t home. I

guess he really was out committing the murder. Wasn’t going to happen.’
(Addendum 1, 23, 50)

323. The prosecutor then tells the jury that Mr. Bellamy concocted his alibi:

“Why do you suppose he makes such a point of trying to say he left at ten

o’clock? Why do you suppose he would have his alibi witness come in and
say that he left at ten o’clock?

Ten o’clock is a very important time in this case because the murder had
been committed before ten o’clock as the murderer would well know. So if
you are going to claim you were somewhere else, whether you have been
asked or not, and you don’t want to be convicted of this crime you’re going
to make sure it comes after the time that you know the crime had actually
been committed.”

(Addendum 8, 23)
324. The Prosecutor then twists the evidence and says: “Every single witness described
the defendant.” despite the fact that every witness described the assailant in a
different way.

“T asked for the description of the shorter of the two males engaged in that
fight with that victim on that corner on April 9, 1994 and she described a

52
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 53 of 88 PagelD #: 2125

325.

male black, small in height, I think she said about five foot six. She wasn’t
very tall herself. I asked her to describe the build. She hesitated there, but
when push came to shove she said thin build. What else did she say about
that thin male? Black, short in stature, had braids in his hair. Isn’t it
interesting every single witness describes the defendant? Is that just
another major coincidence or is there a pattern emerging that the witnesses
got it right?

(Addendum 4, 5)

Guy vouches that Carter must have identified Bellamy at the lineup, since Bellamy

was sitting at the defense table.

“[Mr. Carter] told you he wasn’t sure, and that in the next room he spoke
with the detectives, and when I asked him on the stand about that
conversation he told you he picked out number two and I showed him the
lineup photographs and he still is stuck with number two but you know he
didn’t pick out number two. Number two, isn’t sitting over there. Number
one is sitting over there.”

Addendum (1, 14)

326. The prosecutor then twists Ms. Walker’s non-identification as an identification:

327.

“And then I asked her who do you recognize the subject of that photograph
to be. And what did she say? She didn’t say oh, I recognize this guy to be
the guy sitting at that table sitting over — over at the table over there.

That’s not what she didn’t say. What she did say was that’s Kareem.

That’s Kareem. She knows the defendant. Even in her non-identification, I
suggest to you that she corroborates the positive identification given to you
by Andrew Carter and Linda Sanchez.”

The prosecutor falsely claimed that Mr. Bellamy’s trial counsel called the
prosecution’ witnesses “liars”:

“So now we have defense arguing [Ms. Sanchez] is a liar because she didn’t say
something, and how do we know she didn’t say it? Because he says so. That’s the

53
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 54 of 88 PagelD #: 2126

logic she is a liar because he says so. That’s not enough. There is no evidence she
is a liar, and I submit the only evidence that you have is evidence corroborated.”

328. Not once during the entire trial did defense counsel call Ms. Sanchez or any other
prosecution witness a liar. Neither the word “liar” nor “lying” was ever used by
Mr. Bellamy’s attorney at any time.

329. The prosecutor, however, used the word “lying”, “liar” or “lies” 23 times during his
over-the-top closing argument (Addendum 4, 6).

330. With his office having promised Sanchez tens of thousands of dollars in housing
and cash benefits, Guy then vouches for Ms. Sanchez as having no motive to lie:

“As you sit there now did you think for one second that she have a motive to
lie in this case?”

“Why would she come in and lie about the defendant? Is there any evidence
that she had any motivation to come in and lie about the defendant?”

“She didn’t lie to you. She didn’t embellish.”

“So now we have defense arguing [Ms. Sanchez] is a liar because she didn’t
say something, and how do we know she didn’t say it? Because he says so.
That’s the logic she is a liar because he says so. That’s not enough. There is
no evidence she is a liar and I submit the only evidence that you have is
evidence corroborated.” (Addendum 8, 12, 31, 48, 52)

331. Guy then tells the jury that Walker failed to identify Bellamy because she was in

fear of him.
“And even in identifying the defendant in court I submit to you she said

something interesting, because when I asked her to look around the
courtroom and see if she recognized anybody in this courtroom who she saw

54
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 55 of 88 PagelD #: 2127

332.

333.

334,

335.

and recognized as being in that fight . .. she stopped, she paused, she looked
around the courtroom and she looked on his face and then and only then did
she say I can’t really say.” (Addendum 32)
The Prosecutor then called Mr. Bellamy “a Liar”.
“[Mr. Bellamy can’t keep his lies straight. And he is a liar because his own
statements contradict themselves and they contradict the other evidence.”
The prosecutor inflames the jury by accusing defense counsel of injecting race into
the courtroom because defense counsel noted that when Carter identified Mr.
Bellamy, Mr. Bellamy was the only African-American in the court room.
“Mr. Reiver will have you believe that an in-court identification is somehow
suspect because after all, he is the only black man sitting at the table in this case.
About race, if this is a case about race, what is the race of the victim? This is not a
case about race. That is case about identification. This is a case about
recognition.” (Addendum 18)
Guy’s misconduct was a foreseeable result of the defendant City’s custom and
practice of failing to reprimand and discipline prosecutors who commit misconduct

with “over-the-top” summations that were repeatedly condemned by the Second

Department.

Defendant City’s Policy Makers
Richard A. Brown (“Brown”’) is the elected District Attorney of Queens County
and as a delagee of defendant City of New York has general supervisory duties to

administer and comply with existing Federal and State laws and regulations and to

55
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 56 of 88 PagelD #: 2128

336.

337,

establish policies, procedures and practices for the District Attorney’s Office.
Pertinent to this complaint, Brown had the responsibility for formulating and
implementing policies that discipline prosecutors when appropriate; for establishing
policies to be followed by prosecutors in case preparation including the taking and
maintaining notes of witness interviews; and for formulating and implementing
policies regarding benefits promised to or conferred upon prosecution witnesses,
and not disclosing those benefits to the trial prosecutor.

John M. Ryan, (“Ryan”) is Chief Assistant Queens County District Attorney. As
Chief Assistant, Ryan as delagee of the defendants City of New York has general
supervisory duties to administer and comply with existing Federal and State laws
and regulations and to establish policies, procedures and practices for the District
Attorney’s Office, inter alia, defendant Ryan had responsibility for making policy
decisions; that investigated, sanctioned or disciplined prosecutors for misconduct;
and for policy decisions regarding benefits promised to or conferred upon
prosecution witnesses and not disclosing those benefits to the trial prosecutor.
Michael J. Mansfield (“Mansfield”) was Bureau Chief in Charge of the Queens
Witness Protection Program (WPP) and as delagee of Richard A. Brown had
policy-making responsibility for the Relocation and Benefit Department of Queens
County District Attorney’s Office with responsibility for formulating and

implementing policies regarding benefits to be conferred to prosecution witnesses.

56
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 57 of 88 PagelD #: 2129

338.

339.

340.

341.

342.

Richard A. Brown as elected Queens County District Attorney together with his
delegate Deputy Assistant Ryan are the final policy makers for the defendant City
of New York in regard to establishing and formulating policies regarding note
taking when interviewing prosecution witnesses.
Unconstitutional Monell Policies
That Trial Prosecutors are Not to Take
Notes When Interviewing Trial Witnesses So that
Exculpatory Statements are not Recorded or Disclosed
Prior to and at the time of the November 1995 trial, the defendant City of New
York, through its final policy makers, Queens District Attorney Brown and his
delegate Deputy District Attorney Ryan, maintained a policy that expressly trained
and directed Assistant District Attorneys to not take notes when interviewing
potential trial prosecution witnesses.
The purpose of this policy is to make sure that exculpatory or impeachment
evidence of the prosecution’s testifying witness not be recorded so that such
evidence not be disclosed to the defense.
On the other hand, the policy encourages notes to be taken of non prosecution
witnesses so as to allow the prosecutors to impeach potential defense witnesses
with prior inconsistent statements.

Because of this policy, custom and training Guy took no notes of his interviews

with prosecution witnesses Carter and Sanchez.

57
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 58 of 88 PagelD #: 2130

343.

344,

345.

346,

347.

348.

349,

350.

351.

352.

Guy was trained that when conducting interviews with a prosecution witness, the
prosecutor would hold up to the witness a pen or pencil and then show the witness
that the writing instrument is being placed on the desk and not to be used.

In this way when the witness is cross examined by the defense, the witness will
confirm that notes were not taken.

Shortly before the trial Sanchez was interviewed by A.D.A. Guy.

At this interview Sanchez told Guy that she saw Mr. Bellamy on a Sunday, a day on
which beer could not be purchased.

During this interview whenever Sanchez said “Sunday”, Guy immediately corrected
Sanchez to say “Saturday”.

At trial Sanchez again said Sunday but because of Guy’s rehearsals, she reflexively
corrected herself to say “Saturday”.

Guy also interviewed Carter before his trial testimony.

Carter told Guy that he could not identify the faces of the assailants.

Guy, pursuant to the Queens District Attorney’s office policy, took no notes and
thus Sanchez’ and Carter’s statements that tended to establish Mr. Bellamy’s
innocence was not recorded and not disclosed to the defense.

As a result of this carefully crafted policy that notes of prosecution witness
interviews not be taken, Mr. Bellamy was deprived of his constitutional right to

Brady material.

58
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 59 of 88 PagelD #: 2131

353.

354.

355.

356.

357.

358.

359.

QDAO Policy to Shield Trial Prosecutors from the
Benefits Prosecution Witnesses are Promised or Receive
So As Not to Disclose Those Benefits to the Defendant
Prior to and at the time of the December, 1995 trial, the defendant City of New
York, through its final policy makers, District Attorney Brown and his Delegate
Deputy District Attorney Ryan and Bureau Chief Michael T. Mansfield,
maintained a policy that relocation and other benefits received by testifying
prosecution witnesses from the WPP be shielded from disclosure to the trial
prosecutor and thus from the defense.
Although designated as a witness protection program the QDAO’s benefit
department is used both to protect some prosecution witnesses but is also used to
confer benefits to witnesses regardless of whether they are in need of protection.
Sanchez did not feel threatened or intimidated by Mr. Bellamy or by the second
assailant.
Ms. Sanchez did not ask for and was not in need of protection.
Because of the wall between the benefit department and the trial prosecutor, the
substantial benefits given and promised to Ms. Sanchez was not made known to the
defense.
Because of the intra-office wall, criminal defendants even after a conviction are

unaware of the benefits promised or received even when a FOIL request is made.

On January 6, 2005, Mr. Bellamy made a FOIL request to the QDAO asking for:

59
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 60 of 88 PagelD #: 2132

“Records of reward monies or other remuneration paid to Linda Sanchez
and/or Andrew Carter or to any other witness. -

“Records of relocation assistance rendered to Linda Sanchez.”

360. On March 9, 2005, Rona Kluger the Queens District Attorney’s Office Records
Access Officer denied any such records existed:

“The review of our records has also revealed that the following documents
are not disclosable because no document in the case file satisfies your
request for these items:...

3) Records of payments on behalf of Linda Sanchez or Andrew Carter;

6) Records of relocation assistance for Linda Sanchez;”

361. This representation was false and in violation of Penal Law 240.65.

362. Despite the file containing evidence that Sanchez was promised and received
substantial housing and cash assistance, prosecutors falsely represented to the 440
Court that no undisclosed Brady material existed in the Sanchez file.

363. The QDAO did not disclose the contents of the file until after the Appellate
Division dismissed the writ of prohibition to prohibit the 440 Judge, Joel L.
Blumenfeld from enforcing a subpoena for the files. Matter of Brown v.
Blumenfeld, 45 A.D.3d 836 (2™ Dept. 2007); leave to appeal denied 9 N.Y. 3d
1026 (2008).

364. This calculated scheme of the QDAO to evade its constitutional duty to disclose the

benefits prosecution witnesses receive was expressly condemned two years prior to

60
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 61 of 88 PagelD #: 2133

365,

366.

367.

368.

369.

370.

the Bellamy trial by the New York Court of Appeals in People v. Stedman, 82
N.Y.2d 1 (1993).
Despite the Stedman decision, the QDAO policy continued to shield trial
prosecutors from knowledge of benefits witnesses receive.
As a result of this policy of shielding prosecutors from knowledge of benefits
conferred on witnesses, Mr. Bellamy was deprived of his liberty without receiving a
fair trial.

City Defendant’s Policy and Practice that Fails to Discipline

or Sanction Trial Prosecutors for Misconduct |

The QDAO as delagee of the defendant City of New York has a custom and
practice not to internally investigate, reprimand, sanction or discipline prosecutors
for misconduct.
This custom and practice encourages, condones and ratifies the prosecutors’
deliberate and reckless disregard of their constitutional and ethical duties.
As aresult of this practice and custom, trial district attorneys and supervisors,
including but not limited to A.D.A. Guy engaged in prosecutorial misconduct in a
climate of impunity.
The defendant City of New York was on actual and constructive notice of the
misconduct of Queens County Assistant District Attorneys from at least the mid-

1980's through the date of Mr. Bellamy’s trial in December 1995, by at least 65

61
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 62 of 88 PagelD #: 2134

371.

372.

373.

374.

Appellate Court decisions that alerted the final policy maker that defendants were
deprived of their constitutional rights because of prosecution misconduct occurring
during summation.
The historical failure of the District Attorney’s Office to discipline assistant district
attorneys was known to Brown and Ryan, or in the absence of their deliberate and
reckless indifference should have been known to the policymakers at and prior to
the time of Mr. Bellamy’s prosecution.
Of the more than 130 instances, occurring after 1985 and continuing to date, of
prosecutorial misconduct in summations, no trial prosecutor has been disciplined or
sanctioned for actions which the Appellate Division, Second Department
condemned as prosecutorial misconduct.

DAMAGES
The actions of the defendants deprived plaintiff Kareem Bellamy of his civil rights
under the Fourth, Fifth, Sixth and Fourteenth Amendments to the United States
Constitution and under the constitution and laws of the State of New York.
The unlawful, intentional, wilful, deliberately indifferent, reckless and/or bad-faith
acts and omissions of the defendants caused Kareem Bellamy to be wrongfully
seized, maliciously prosecuted, unfairly tried, wrongfully convicted, and forced to

serve over fourteen years in prison for a crime he did not commit.

62
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 63 of 88 PagelD #: 2135

375.

376.

The unlawful, intentional, willful, deliberately indifferent reckless, negligent,
and/or bad-faith acts and omissions of the defendants caused Kareem Bellamy the
following injuries and damages, which continue to date and will continue into the
future: multiple physical assaults and batteries, and other physical injuries; pain and
suffering; severe mental anguish, multiple suicide attempts; emotional distress; loss
of family relationships; severe psychological damages; loss of educational
opportunity; loss of professional opportunity; loss of income; infliction of physical
illness; inadequate medical care; humiliation, indignities and embarrassment;
degradation; permanent loss of natural psychological development; and restrictions
on all forms of personal freedom including but not limited to diet, sleep, personal
contact, educational opportunity, vocational opportunity, athletic opportunity,
personal fulfillment, sexual activity, family relations, reading, televisions, movies,
travel, engagements, and expression, all for which Mr. Bellamy is entitled to
monetary relief.

All the acts and omissions committed by the defendants Gillen and Solomeno
described herein for which liability is claimed were done intentionally, unlawfully
maliciously, wantonly, recklessly, negligently and/or with bad faith and said acts

meet all of the standards for imposition of punitive damages.

63
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 64 of 88 PagelD #: 2136

377.

378.

379.

380.

CLAIMS
CLAIM 1

42 USC § 1983 Claim for Deprivation of Liberty Without Due
Process of Law and Denial of a Fair Trial

(Against Defendants Gillen, Solomeno, Pepe and Schruhl)

Mr. Bellamy hereby incorporates and references all of the foregoing paragraphs
and further alleges as follows:

Defendants Gillen and Solomeno acting individually and in concert, fabricated
evidence, concealed material exculpatory and impeachment evidence, and
deliberately and reckless failed to conduct a constitutionally adequate criminal
investigation, thereby depriving Mr. Bellamy of his Fourth, Sixth and Fourteenth
Amendment rights.

Defendants Gillen and Solomeno deliberately and recklessly coerced and/or
fabricated statements from witnesses including but not limited to Linda Sanchez,
Andrew Carter and Veronica Walker and concealed additional material, exculpatory
and impeachment evidence concerning witness interviews conducted by them in the
case, including Maria Vega, Brijmohan Lila, Michelle Abbott, Eric Jefferies and
Veronica Walker.

Defendants Gillen and Solomeno deliberately and recklessly failed to investigate
leads pointing toward other suspects, including LeVon Melvin and Rodney Harris,

that would establish Mr. Bellamy’s innocence.

64
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 65 of 88 PagelD #: 2137

381.

382.

383.

The defendants’ deliberate conduct undermined probable cause to arrest, to indict

and to prosecute Mr. Bellamy.

Defendants Gillen and Solomeno knowingly and deliberately chose not to

document or disclose to the prosecutors information that was favorable and material

to Mr. Bellamy’s defense. The suppressed evidence included but is not limited to:

a.

b.

That Lee, having an alibi, was ruled out as a perpetrator of the murder;
That Sanchez identified Lee as the second person she saw;
That Lee had an alibi for the time when the murder occurred;

That Brijmohan Lila and Maria Vega both told police that the perpetrators
were “hooded,” consistent with the Simmons’ report that the perpetrators
wore hoods;

That on the day of the murder Sanchez told Gillen and Solomeno that “she
saw nothing”;

That Eric Jefferies and Michelle Abbott gave statements that supported third
party culpability as a few days before the murder Mr. Abbott was engaged in
packaging marijuana and was in possession of a gun and a bullet proof vest;

That Walker was interviewed months before the trial and told defendants
Gillen and Solomeno that she knew Mr. Bellamy and it was not Mr. Bellamy
she saw the morning of the murder;

That just before Carter changed his identification from “No.2" to “No.1"
defendant Gillen suggested to Carter that Mr. Bellamy had changed his “hair

style”.

The Defendants Gillen and Solomeno manufactured, created and forwarded false

evidence to the prosecutor that included but is not limited to:

65
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 66 of 88 PagelD #: 2138

384.

385.

a. Brijmohan Lila DDS stating the Lila did not witness the struggle;

b. DD5S report stating that Simmons’ lead was followed up;

C. Bellamy’s statement allegedly made in the police car;
d. Lee’s taped statement ;

e. Carter’s line-up identification of Bellamy;

f. Sanchez’ statement that Bellamy threatened her;

g. Walker’s DDS that she told Solomeno that she saw Mr. Bellamy stabbing
and kicking Mr. Abbott; and
h. Linda Sanchez’ original line-up sheet wherein “Sunday” was altered to

“Saturday”.

If the defendants’ fabrications and exculpatory and material impeachment evidence

known to them had been documented and/or disclosed such evidence would have

tended to prove Mr. Bellamy’s innocence, cast doubt on the entire police

investigation and prosecution, and impeached the critical trial testimony.

The aforesaid conduct, which Defendants committed operated to deprive Mr.

Bellamy of his rights under the Constitution and the laws of the United States:

a. Not to be arrested, indicted, prosecuted, detained, convicted, or imprisoned
based upon false, fabricated, manufactured, misleading, or inherently

unreliable “evidence,” including the statements and testimony of witnesses

66
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 67 of 88 PagelD #: 2139

386.

387.

who have been improperly influenced, coerced, or manipulated to provide
such statements and testimony, in violation of the Due Process and Fair Trial
Clauses of the Fifth, Sixth and Fourteenth amendments to the United States
Constitution;

b. Not to be deprived of his liberty absent probable cause to believe he has
committed a crime, in violation of his rights under the Fourth and Fourteenth
Amendments to the United States Constitution; and

C. To timely disclosure of all material evidence favorable to the defense
pursuant to the Due process and Fair Trial Clauses of the Fifth, Sixth, and
Fourteenth Amendments to the United States Constitution.

No reasonable police officer in 1994-1995 would have believed that the actions

taken by the defendants in fabricating evidence failing to document and disclose

material, exculpatory evidence, and failing to investigate exculpatory evidence were
lawful.

The forgoing violations of Plaintiff's federal constitutional rights by the defendants
and their co-conspirators and accomplices, known and unknown, directly,
substantially, proximately, and foreseeably caused the initiation and continuation of

Plaintiff's criminal prosecution, his loss of liberty, his wrongful conviction, his

subsequent imprisonment, and his other injuries and damages.

67
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 68 of 88 PagelD #: 2140

388.

389.

390.

391.

The defendant’s deliberate and reckless failure to investigate exculpatory evidence
that was known to them, or that in the absence of their deliberate and reckless
indifference should have been known to them, caused Mr. Bellamy to be deprived
of a fair trial.
In withholding material exculpatory and impeachment information from the
prosecutors, they also deprived Mr. Bellamy’s defense of the information in
violation of his clearly established Sixth and Fourteenth Amendment right to a fair
trial.
As a direct and proximate result of the defendants’ action Mr. Bellamy who was
innocent was wrongly convicted and imprisoned for over fourteen years, and
suffered the other grievous and continuing injuries and damages as set forth above.
CLAIM II

42 U.S.C. §1983 Malicious Prosecution in
Violation of the Fourth and Fourteenth Amendments

(Against Defendants Gillen and Solomeno )
Defendants Gillen and Solomeno, despite knowing that probable cause did not exist
to arrest and prosecute Mr. Bellamy for the murder of James Abbott, Jr. and despite
the fact that the grand jury’s probable cause determination was vitiated by these
defendants’ undisclosed misconduct and by their concealment of material,
exculpatory and impeachment evidence and acting individually and in concert to

cause Mr. Bellamy to be wrongfully arrested and prosecuted for those crimes.

68
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 69 of 88 PagelD #: 2141

392,

393.

394,

395.

396.

Defendant Gillen lacked probable cause to initiate the prosecution of Mr. Bellamy
and the indictment and conviction of Mr. Bellamy was procured by fraud, perjury,
the manipulation of witnesses and the fabrication and suppression of evidence.
False and fabricated evidence was given by Defendants Gillen and Solomeno to the
prosecutor, the Grand Jury and to the Petit Jury.

Defendants Gillen and Solomeno knew or were deliberately and recklessly
indifferent to the truth that probable cause did not exist to arrest, indict and
prosecute Mr. Bellamy, including but not limited to the facts that additional
material, exculpatory and impeachment evidence which was not disclosed to the
grand jury or prosecutors undermined the evidence presented in support of a
probable cause finding against Mr. Bellamy.

The deliberate and reckless investigative failure of the defendants included but
were not limited to failing to investigate known exculpatory and potentially
exculpatory information provided by witnesses, failing to investigate exculpatory
and potentially exculpatory forensic evidence, including but not limited to blood
evidence.

Notwithstanding the fact that no physical or forensic evidence connecting Mr.
Bellamy to the crime and that the police received a report shortly after the murder
that LeVon “Ish” Melvin and Rodney “Turk” Harris committed the murder, and

notwithstanding that Mr. Bellamy had been exonerated by Sanchez’ identification

69
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 70 of 88 PagelD #: 2142

397.

398.

399.

of Lee as the second perpetrator, Carter’s non-identification, and Walker’s
statement that Bellamy was not at the scene of the murder and third party

culpability provided to them by Eric Jefferies, Michelle Abbott and Deborah

_ Abbott, defendants Gillen and Solomeno refused to investigate evidence

demonstrating Mr. Bellamy’s innocence.

Defendants Gillen and Solomeno prosecuted Mr. Bellamy regardless of the fact that
defendants Gillen and Solomeno possessed evidence that Mr. Bellamy was
innocent.

This conscience-shocking failure to investigate obvious and known exculpatory
leads deprived Mr. Bellamy of his liberty, in violation of the Fourth and Fourteenth
Amendments.

Mr. Bellamy is in fact innocent and there is no evidence of any nature connecting
Mr. Bellamy to the murder, and there is overwhelming evidence of Mr. Bellamy’s
innocence, including:

a. Sanchez’ identification of Lee as the second person she saw with Mr.
Bellamy, and Gillen knowing that Lee had an alibi;

b. Veronica Walker positively saying that it was not Mr. Bellamy who
she saw who ran from behind her car onto the corner where the
murder took place;

C. Robert Burgos who saw Mr. Bellamy shortly after the murder
standing together with Mr. Lee in front of his building a few blocks
from and on the same thoroughfare as where the murder took place;
and

70
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 71 of 88 PagelD #: 2143

400.

401.

402.

403.

404.

d. that Ms. Sanchez saw Mr. Bellamy on Sunday not Saturday;
e. The Simmons report later corroborated by Mr. Melvin’s confession in
the fall of 2007 to Michael Green, that LeVon Melvin and Rodney
Harris murdered James Abbott.
Defendants Gillen and Solomeno’s conduct was critical to the continued
prosecution of Mr. Bellamy and which defendants Gillen and Solomeno knew or in
the absence of their deliberate and reckless indifference should have known would
cause Mr. Bellamy’s prosecution to continue.
On September 16, 2011, the prosecution terminated in Mr. Bellamy’s favor when
all charges against him were dismissed.
The dismissal followed the 440 Hearing Judge’s and the Appellate Division’s
separate independent findings that credible newly discovered evidence existed of
third party culpability.
Defendants’ actions to deprive Mr. Bellamy of his liberty without probable cause
were in violation of clearly established constitutional law, and no reasonable police
officer in 1994 and 1995 would have believed that the defendants’ actions were
lawful.
As a direct and proximate result of the defendants’ actions Mr. Bellamy was
wrongly prosecuted, convicted, and imprisoned over fourteen years and suffered the

other grievous and continuing injuries and damages as set forth above.

71
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 72 of 88 PagelD #: 2144

405.

406.

407.

408.

409,

CLAIM III

42 U.S.C. §1983 Claim for Engaging in Conduct that Shocks
the Conscience in Violation of the Fourteenth Amendment

(Against Defendants Gillen and Solomeno)
Mr. Bellamy hereby incorporates by reference all of the foregoing paragraphs and
further alleges as follows:
In their drive to frame Mr. Bellamy and to secure Mr. Bellamy’s wrongful
conviction, defendants Gillen and Solomeno deliberately engaged in arbitrary and
conscious-shocking conduct that contravened fundamental canons of decency and
fairness.
No reasonable police officer in 1994 and 1995 would have believed that the actions
taken by the defendants in deliberately fabricating and concealing exculpatory
evidence, coercing witness testimony and failing to conduct a constitutionally
adequate investigation were lawful.
The defendants’ conduct violated Mr. Bellamy’s right pursuant to the Fourth, Sixth
and Fourteenth Amendments of the United States Constitution to be free of
unreasonable searches and seizures and not to be deprived of his liberty without
receiving a fair trial.
As a direct and proximate result of the defendants’ actions Mr. Bellamy was
wrongfully convicted and imprisoned for over fourteen years, and suffered the other

grievous and continuing injuries and damages as set forth above.

72
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 73 of 88 PagelD #: 2145

410.

411.

412.

413.

414.

CLAIM IV
42 U.S.C. §1983 Claim for Failure to Intercede
(Against Defendants Pepe and Schruhl)
Mr. Bellamy hereby incorporates by reference all of the foregoing paragraphs and
further alleges as follows:
Defendants Pepe and Schruhl had an affirmative constitutionally duty to intercede
on behalf of Mr. Bellamy to prevent his deprivation of liberty without due process
of law.
Pepe and Schruhl declined, or with deliberate indifference, refused to intercede to
avoid the constitutional deprivation by defendant’s Gillen and Solomeno of Mr.
Bellamy’s rights.
Pepe and Schruhl knew of, or were deliberately indifferent to Defendants Gillen’s
and Solomeno’s conduct that allowed the file to be purged of exculpatory DDS's
that allowed police reports and DDSs to be destroyed, and/or falsified and allowed
the investigation to be closed even though there were credible leads to third parties
that would have established Mr. Bellamy’s innocence.
The defendants’ failure to intercede violated Mr. Bellamy’s clearly established
constitutional right to be free from unreasonable search and seizure and not to be
deprived of liberty without due process of law as guaranteed by the Fourth and

Fourteenth Amendments.

73
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 74 of 88 PagelD #: 2146

415.

416.

417.

418.

No reasonable police officer in 1994-1995 would have believed that failing to
intercede to prevent defendants Gillen and Solomeno from suppressing evidence,
manipulating witnesses, fabricating evidence, failing to document and disclose
material exculpatory evidence, deliberately failing to conduct a constitutionally
adequate investigation, and causing Mr. Bellamy to be arrested and prosecuted
without probable cause were lawful.
As a direct and proximate result of the defendants’ failure to intercede Mr. Bellamy
was wrongly convicted and imprisoned for over 14 years, and suffered the other
grievous and continuing injuries and damages as set forth above.

CLAIM V

42 U.S.C. §1983 Claim for Supervisory
Liability Against NYPD Supervisors

(Against Defendants Pepe and Schruhl)
Mr. Bellamy hereby incorporates by reference all of the foregoing paragraphs and
further alleges as follows:
Defendants Pepe and Schruhl, supervisory police officers, acting deliberately,
recklessly and under color of law, were, at the relevant times, supervisory personnel
with the New York Police Department with oversight responsibility for training,
hiring, screening, instruction, supervision and discipline of Defendant Gillen and
Solomeno police officer defendants who deprived Mr. Bellamy of his clearly

established constitutional rights.

74
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 75 of 88 PagelD #: 2147

419,

420.

421.

422.

Defendants Pepe and Schruhl, NYPD supervisors were personally involved in both
the deprivation of Mr. Bellamy’s constitutional rights and in creating or condoning
the policy or custom of failing to take preventative and remedial measures to guard
against such constitutional deprivations, by failing to review the DDS5's, failing to
supervise the investigative efforts, failing to supervise the investigation of the
Melvin/Harris lead; allowing the investigation to be closed on the day of Mr.
Bellamy’s arrest and failing to direct that blood samples be taken of Mr. Bellamy’s
boots.

Defendants Pepe and Schruhl, NYPD supervisors were reckless in their failure to
supervise defendants Gillen and Solomeno. Defendants Pepe and Schruhl either
knew or should have known that defendant officers were grossly negligent and
deliberately indifferent to the rights of defendants including the suppression and the
fabrication of evidence.

Defendants Pepe and Schruhl failed to train Defendants Gillen and Solomeno in
how to conduct an adequate homicide investigations, and to number DD5's and to
document exculpatory evidence.

These supervisory defendants knew or in the exercise of due diligence would have
known that the misconduct of defendants Gillen and Solomeno against Mr. Bellamy

was likely to occur.

75
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 76 of 88 PagelD #: 2148

423.

424,

425.

426.

427,

The failure of these supervisory defendants to train, supervise and discipline
defendants Gillen and Solomeno amounted to gross negligence, deliberate
indifference or intentional misconduct deprived Mr. Bellamy of due process of law.
Defendants Pepe and Schruhl actions and omissions proximately and directly
caused Mr. Bellamy to be wrongfully prosecuted, convicted, and imprisoned for
over fourteen years, and to suffer the other grievous and continuing injuries and
damages set forth above.
CLAIM VI
42 U.S.C. §1983 Monell Claim

Policy, Practice and Custom of Failing to Reprimand
or Discipline Trial Prosecutors for Summation Misconduct

(Against Defendant City of New York)
Mr. Bellamy hereby incorporates by reference all of the foregoing paragraphs and
further alleges as follows.
Under the principles of municipal liability for federal civil rights violations, the
District Attorney of Queens County (or his authorized delegates) has final authority
and is the City’s policymaker in the training, instructing, supervising and
disciplining attorneys .
The District Attorney of Queens County, Richard Brown, personally and/or through
his authorized delegates, at all relevant times had final authority, and constituted a

City policymaker for whom the City is liable, with respect to such conduct.

76
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 77 of 88 PagelD #: 2149

428.

429,

430.

431.

432.

433.

434,

In the Queens County District Attorney’s office there was a history of epidemic
proportion of prosecutorial misconduct during summations.

Between 1985 and 1995 there were at least 65 instances in which the Appellate
Division alerted the final policy makers that misconduct during summations
deprived defendants of their constitutional rights to a fair trial.

Brown as policymaker failed to take any steps to protect against the constitutional
harm that was certain to occur without a disciplinary policy in place.

Brown failed to implement a policy to deter or to correct the prosecutorial
misconduct repeatedly identified by the Appellate Division, Second Department as
depriving defendants of their constitutional right to a fair trial.

Prior to and at the time of the investigation, prosecution, and conviction of Kareem
Bellamy, defendant City of New York by and through the final policymaker,
Richard A. Brown and his delagates, maintained a practice and custom not to
reprimand or discipline assistant district attorneys in connection with summation
misconduct.

The misconduct was condoned and often prosecutors who engaged in the
misconduct were promoted.

The misconduct was encouraged, condoned and ratified by a policy that “winning is
everything,” and which policy superseded the constitutional duty of the prosecutor

that justice be done.

77
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 78 of 88 PagelD #: 2150

435.

436.

437,

438.

439,

As a direct and proximate result of the Queens County District Attorney’s office
custom, and practice of failing to reprimand or discipline trial prosecutors allowed
in this instance David Guy, to deliver an egregious summation of a nature that was
interchangeable with summations that had been consistently condemned by the
Appellate Division as a deprivation of the rights of criminal defendants.

The policy of allowing prosecutor to commit misconduct during summations
without fear of consequences made it foreseeable to defendant City of New York,
that prosecutors would predictably confront decisions as to the delivery of a
summation and that constitutional violations that affect the rights of the defendants
would likely result.

David Guy was at such a crossroad, having acknowledged that the prosecution’s
case had crumbled and that a “strong” summation was needed. Without a
disciplinary policy in place Guy elected to take the path of “winning at all costs”
and to deliver an over-the-top summation that deprived Mr. Bellamy of a fair trial.
The aforesaid unlawful policy, practice and/or custom of defendant City was a
substantial factor in bringing about the violations of plaintiff's rights under the
Constitution and laws of the United States and in causing his conviction,
imprisonment and related damages.

As a direct and proximate result of the City’s deliberate indifference to custom and

practice that caused the unconstitutional deprivation of defendants rights to a fair

78
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 79 of 88 PagelD #: 2151

440.

441.

442.

trial, Mr. Bellamy was wrongfully prosecuted, convicted and imprisoned for over
fourteen years and suffered the other grievous and continuing injuries and damages
set forth above.
CLAIM Vil
42 U.S.C. §1983 - Monell
Policy, Practice and Custom of Training and Directing Trial Prosecutors
to Not Take Notes When Interviewing Prosecution Witnesses,
or Being Deliberately Indifferent to Such Practice,
So As to Deprive Defendants of Exculpatory Evidence
(Against Defendant City of New York)
Mr. Bellamy hereby incorporates by reference all of the foregoing paragraphs and
further alleges as follows:
Prior to and at the time of the investigation, prosecution, and conviction of Kareem
Bellamy, and continuing to date, the Queens County District Attorney’s Office
maintained a policy of training and directing Assistant District Attorneys not to take
written notes when interviewing prosecution witnesses, or were deliberately
indifferent to the practice that notes were never taken.
This policy and practice of the City of New York that was maintained by and
through its final policymakers made it foreseeable that exculpatory evidence would

be withheld and constitutional violations of the type Mr. Bellamy suffered would

be a predictable result of such policies.

79
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 80 of 88 PagelD #: 2152

443,

444,

445.

446.

AAT,

As a direct result of this policy ADA David S. Guy did not record exculpatory
statements from Ms. Sanchez that she saw Mr. Bellamy on Sunday and Mr. Carter’s
statement that he could not identify the faces of the assailants.
The aforesaid unlawful policies, procedures, regulations, practices and/or customs
of defendant City were individually and collectively a substantial factor in bringing
about the violations of plaintiffs rights under the Constitution and laws of the
United States and in causing his conviction, imprisonment and related damages.
As a direct and proximate result of the City’s policies, customs or patterns and
practice, Mr. Bellamy was wrongfully prosecuted, convicted and imprisoned for
over fourteen years and suffered the other grievous and continuing injuries and
damages set forth above.
CLAIM VII
42 U.S.C. §1983 - Monell
Policy Practice and Custom of
Shielding the Trial Prosecutor from Knowledge of
the Financial and Housing Assistance Given
to Prosecution Witnesses
(Against Defendant City of New York) |
Mr. Bellamy hereby incorporates by reference all of the foregoing paragraphs and
further alleges as follows:

Prior to and at the time of the investigation, prosecution, and conviction of Kareem

Bellamy, and continuing to date, the Queens County District Attorney’s Office,

80
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 81 of 88 PagelD #: 2153

448,

449,

450.

451.

452.

through its policy maker, Brown and his delagees Ryan and Mansfield, maintained
a “Chinese wall” policy of shielding trial prosecutors from knowledge of benefits
promised to or conferred upon testifying prosecution witnesses.

It was reasonably foreseeable that this policy would deprive defendants of their
constitutional right to exculpatory and impeachment information of benefits
conferred upon testifying prosecution witnesses.

The policy, practice and custom allowed the prosecutor David Guy to falsely tell
the jury that Sanchez had no motive to fabricate the threats.

In fact at the time of Guy’s summation, Sanchez had already received hundreds of
dollars with a promise that she would continue to receive thousands of dollars in
financial and housing assistance.

The QDAO, in December 1995, was well aware that the policy of shielding trial
prosecutors from knowledge of the scope of benefits and promises made by the
walled-off-benefits department to a testifying witness was unconstitutional. People
v. Steadman, 82 N.Y.2d 1 (1993), U.S. v. Giglio, 405 U.S. 150 (1972)

The aforesaid unlawful policies, practices and/or customs of defendant City were
individually and collectively a substantial factor in bringing about the violations of
plaintiffs rights under the Constitution and laws of the United States and in causing

his conviction, imprisonment and related damages.

81
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 82 of 88 PagelD #: 2154

453. Asa direct and proximate result of the City’s policy, custom and practice of
shielding trial prosecutors from Brady evidence, Mr. Bellamy was wrongfully
prosecuted, convicted and imprisoned for over fourteen years and suffered the other

grievous and continuing injuries and damages set forth above.

CLAIM Ix
State Law Claim for Malicious Prosecution
(Against Defendants Gillen and Solomeno)
454. Mr. Bellamy hereby incorporates by reference all of the foregoing paragraphs and
further allege as follows
455. Defendants Gillen, Solomeno, despite knowing that probable cause did not exist to
arrest, indict and prosecute Mr. Bellamy for the murder of James Abbott, and
despite the fact that the grand jury’s probable cause determination was undermined
by the defendants’ undisclosed misconduct and by other concealed, material,
exculpatory and impeachment evidence, acted individually and in concert to cause
Mr. Bellamy to be arrested and prosecuted for those crimes. The defendants’
conduct violated Mr. Bellamy’s right pursuant to the Constitution of the State of
New York and proximately caused his wrongful conviction.
456. Specifically, Defendants Gillen and Solomeno knew or in the absence of their

deliberate and reckless indifference to the truth should have known of information

82
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 83 of 88 PagelD #: 2155

457.

458.

that probable cause did not exist to arrest, indict and prosecute Mr. Bellamy. That
those factors as well as additional material, exculpatory and impeachment evidence
which was not disclosed to the grand jury or prosecutors undermined the evidence
presented in support of a probable cause finding against Mr. Bellamy.
Additionally, prior and subsequent to Mr. Bellamy’s indictment and being notified
of exculpatory evidence, defendants Gillen and Solomeno deliberately and
recklessly failed to investigate evidence that they knew, or in the absence of their
deliberate and reckless indifference should have known, vitiated probable cause for
Mr. Bellamy’s prosecution. The deliberate and reckless investigative failures of
the defendants included but were not limited to failing to investigate known
exculpatory and potentially exculpatory information provided by witnesses, failing
to investigate exculpatory and potentially exculpatory forensic evidence including
taking blood evidence from the boots of Mr. Bellamy, Mr. Lee, Mr. Melvin or Mr.
Harris.

Defendants Gillen, Solomeno, Pepe and Schruhl caused Mr. Bellamy to be
maliciously prosecuted by deliberately and recklessly fabricating evidence which
was critical to the continued prosecution of Mr. Bellamy and by suppressing
exculpatory evidence. Defendant Gillen and Solomeno knew or in the absence of
their deliberate and reckless indifference should have known that their conduct

would cause Mr. Bellamy’s prosecution to continue.

83
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 84 of 88 PagelD #: 2156

459.

460.

461.

462.

463.

464.

The defendants performed the above-described acts deliberately, with reckless
disregard for the truth and as to Defendant Gillen and Solomeno with malice.

In fact, Mr. Bellamy was innocent of the murder of James Abbott. On September
16, 2011, the prosecution terminated in Mr. Bellamy’s favor when charges against
him were dismissed on motion of the Queens County District Attorney.

Defendants’ actions to deprive Mr. Bellamy of his liberty without probable cause
were in violation of clearly established constitutional law, and no reasonable police
officer in 1994/1995 would have believed that the defendants’ actions were lawful.
As a direct and proximate result of the defendants’ actions Mr. Bellamy was
wrongly prosecuted, convicted, and imprisoned for over fourteen years and suffered

the other grievious and continuing injuries and damages as set forth above.

CLAIM X

State Law Claim for Intentional or Reckless
Infliction of Emotional Distress

(Against Defendant Gillen and Solomeno)
Mr. Bellamy hereby incorporates by reference all of the foregoing paragraphs and
further alleges as follows.
The conduct of defendants Gillen and Solomeno in framing Mr. Bellamy for this
murder and in deliberately causing or recklessly disregarding the risk of causing the

wrongful arrest, prosecution and incarceration of Kareem Bellamy, including the

84
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 85 of 88 PagelD #: 2157

465.

466.

467.

468.

469.

falsification and fabrication of evidence was so extreme and outrageous in
character, and so extreme in degree as to go beyond all bounds of decency and to be
regarded as atrocious and utterly intolerable in a civilized community.

Defendants’ actions intentionally to inflict emotional distress upon Mr. Bellamy
were in violation of clearly established law, and no reasonable police officer in
1994 and 1995, would have believed that the defendants’ actions were lawful.
Defendants’ outrageous conduct directly and proximately caused the grievous and
continuing injuries and damages set forth above.

As a direct and proximate result of the defendants’ actions Mr. Bellamy was
wrongly prosecuted, convicted, and imprisoned for fourteen years, and suffered the

other grievious and continuing injuries and damages as set forth above.

CLAIM XI
State Law Claim for Negligent Infliction of Emotional Distress
(Against Defendants Gillen and Solomeno)
Mr. Bellamy hereby incorporates by reference all of the foregoing paragraphs and
further alleges as follows:
Defendants Gillen, Solomeno negligently and grossly negligently, and in breach of
their duties owed to Mr. Bellamy to refrain from (a) fabricating evidence, (b)

withholding material, exculpatory and impeachment evidence, ( c ) failing to

85
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 86 of 88 PagelD #: 2158

470.

471.

472.

473,

conduct a constitutionally adequate investigation and (d) maliciously prosecuting
and causing Mr. Bellamy’s false arrest and imprisonment, directly and proximately
caused Mr. Bellamy, an innocent man, to be falsely arrested, maliciously
prosecuted, and wrongfully imprisoned for fourteen years and three months.
Defendants’ actions of negligent infliction of emotional distress upon Mr. Bellamy
were in violation of clearly established law and no reasonable police officer in 1994
and 1995 would have believed that the defendants’ actions were lawful.
As a direct and proximate result of the defendants’ actions Mr. Bellamy was
wrongly prosecuted, convicted, and imprisoned for over fourteen years, and
suffered the other grievious and continuing injuries and damages as set forth above.
CLAIM XII
Respondent Superior Claim
( Against Defendant the City of New York)
Mr. Bellamy hereby incorporates by reference all of the foregoing paragraphs and
further alleges as follows:
At all times relevant to this complaint defendants Gillen, Solomeno, Pepe and
Schruhl acted as agents of and in the scope of their employment with, defendant
City of New York. The conduct by which the defendants committed the torts of
malicious prosecution, false imprisonment, intentional or reckless infliction of

emotional distress, and negligent infliction of emotional distress was undertaken

86
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 87 of 88 PagelD #: 2159

474,

Dated:

while the defendants were carrying out their routine investigative functions as

NYPD detectives, and engaging in such conduct as would have been reasonably

expected, and was in fact foreseen by their employer.

The City of New York is liable for its agents’ state law torts of malicious

prosecution, intentional or reckless infliction of emotional distress, and negligent

infliction of emotional distress under the doctrine of respondent superior.

WHEREFORE, Kareem Bellamy prays as follows:

A.

That the court award compensatory damages to claimant and against the
defendants City of New York, John J. Gillen, Michael F. Solomeno, Vincent
Pepe and Robert Schruhl, jointly and severally, in an amount to be
determined at trial.

That the Court award punitive damages against Defendants John J. Gillen
and Michael F. Solomeno in an amount that will deter such conduct by these
defendants in the future in an amount to be determined at trial;

For a trial by jury;

For pre-judgment and post-judgment interest and recovery of his costs,
including reasonable attorney’s fees pursuant to 42 U.S.C.§1988 for all 42
U.S.C. §1983 claims; and

For any and all other relief to which he may be entitled.

Respectfully submitted,

New York, N.Y. Ze ZY
October 31, 2014

Thomas Hoffman (TH 2797)

Law Offices of Thomas Hoffman, P.C.
250 West 57 Street, Suite 1020

New York, NY 10107

87
Case 1:12-cv-01025-AMD-PK Document 82 Filed 10/31/14 Page 88 of 88 PagelD #: 2160

Tel. 212 581 1180
Fax: 212 581 8002
Attorneys for Plaintiff Kareem Bellamy

88
